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                   Appendix Exhibit 16




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                   §
     In re:                                                        § Chapter 11
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                   §
                                      Debtor.                      §

           MOTION OF THE DEBTOR FOR APPROVAL OF SETTLEMENT
     WITH THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS REGARDING
                     GOVERNANCE OF THE DEBTOR AND
           PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                   The above-captioned debtor and debtor in possession (the “Debtor”) files this

 motion (the “Motion”) for the entry of an order (the “Order”) approving the terms of a settlement

 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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 between the Debtor and the Committee (as defined below) regarding governance of the Debtor

 and procedures for operations in the ordinary course of business, as embodied in the term sheet

 attached hereto as Exhibit A (the “Term Sheet”). In support of this Motion, the Debtor respectfully

 represents as follows:

                                             Preliminary Statement

                   1.        Following weeks of negotiations, the Debtor and the Committee have

 reached a proposed settlement, which contemplates the creation of a new independent board of

 directors (the “Independent Directors”) at Strand Advisors, Inc. (“Strand”), the Debtor’s general

 partner and ultimate party in control, and the implementation of certain protocols governing the

 operation of the Debtor’s business in the ordinary course. The Independent Directors will consist

 of the following three highly qualified and independent individuals: James Seery, John Dubel,

 and a third director to be selected by or otherwise acceptable to the Committee.2 Two of the

 Independent Directors were chosen by the Committee and the third Independent Director will be

 selected by or otherwise acceptable to the Committee. Background information for each of the

 Independent Directors is attached hereto as Exhibit B.

                   2.        Pursuant to the Term Sheet, and effective upon entry of the Order, James

 Dondero will no longer be a director, officer, managing member, or employee of the Debtor or

 Strand and will have no authority, directly or indirectly, to act on the Debtor’s behalf. Going

 forward, the Independent Directors, through Strand, will have sole and exclusive management and

 control of the Debtor. The Independent Directors will have the discretion to appoint an interim

 2
  The Committee’s agreement to the Term Sheet in its entirety is contingent upon the selection of a third
 Independent Director acceptable to the Committee. In the event the Committee and the Debtor cannot reach an
 agreement on an acceptable Independent Director to fill the third seat of the Board of Directors, the Term Sheet shall
 be null and void.

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 Chief Executive Officer (the “CEO”) who will manage the Debtor’s day-to-day business

 operations. Subject to Court approval, the Debtor still intends to retain Development Specialists,

 Inc. (“DSI”) to provide a Chief Restructuring Officer (the “CRO”) that will serve at the direction

 of the Independent Directors (or CEO, if appointed).

                  3.         It bears emphasis that the Independent Directors will not be mere

 figureheads. The Debtor and the Committee envision that the Independent Directors will be

 actively involved and intimately familiar with all material aspects of the Debtor’s business and

 restructuring efforts.       Moreover, with guidance of the CRO and CEO (if appointed), the

 Independent Directors will endeavor to prevent any negative influence Mr. Dondero or any of his

 affiliates or agents may have on the Debtor and its employees. Further, as part of the Term Sheet,

 the Committee will be granted standing to pursue estate claims against Mr. Dondero and other

 former insiders of the Debtor who were not employed by the Debtor as of the execution of the

 Term Sheet. The Committee will also retain the right to move for a chapter 11 trustee.

                  4.         In sum, the Term Sheet resolves months of litigation between the Debtor

 and the Committee over the Debtor’s governance structure and operating protocols, allowing all

 parties to refocus on a path forward for this chapter 11 case. With the Independent Directors in

 place, the Debtor can move forward expeditiously, efficiently, and effectively with the substantive

 aspects of this case and consider any available restructuring options that will maximize value for

 all constituents. The Debtor therefore urges the Court to approve the Term Sheet and allow the

 key economic interest holders to proceed with a productive restructuring effort.




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                                          Jurisdiction and Venue

                  5.         The United States Bankruptcy Court for the District of Northern District of

 Texas, Dallas Division (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                  6.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                  7.         The statutory bases for the relief requested herein are sections 105(a) and

 363 of the Bankruptcy Code and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”).

                                                 Background

                  8.         On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District

 of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

                  9.         To assist and coordinate the restructuring process, the Debtor retained DSI

 and Bradley D. Sharp to serve as the CRO on October 7, 2019. On October 29, 2019, the Debtor

 filed the Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain

 Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and

 Financial Advisory and Restructuring Related Services, Nunc Pro Tunc as of the Petition Date

 [Docket No. 74] (the “CRO Motion”) seeking to formally retain the CRO. The CRO Motion

 remains pending, and the Debtor is filing a supplement to the CRO Motion concurrently herewith.

                  10.        On October 29, 2019, the Official Committee of Unsecured Creditors (the

 “Committee”) was appointed by the U.S. Trustee in the Delaware Court. On November 12, 2019,

 the Committee filed an omnibus objection to the CRO Motion, cash management motion, and

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 motion for approval of ordinary course protocols [Docket No. 130] (the “Committee Objection”),

 raising various concerns regarding the Debtor’s governance and business practices.

                  11.        On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Debtor’s bankruptcy case to this Court [Docket No. 186].3 The Debtor has continued

 in the possession of its property and has continued to operate and manage its business as a debtor

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

 examiner has been appointed in this chapter 11 case.

                  12.        On December 23, 2019, the U.S. Trustee filed a motion in this Court to

 appoint a chapter 11 trustee for the Debtor [Docket No. 271] (the “Trustee Motion”). Although

 the Debtor will be filing a separate response to the Trustee Motion, it suffices to say that the Trustee

 Motion (filed without even considering the proposed Term Sheet) completely lacks merit given

 the governance changes and other resolutions encompassed in the Term Sheet agreed to by the

 Committee, as the representative of the primary economic stakeholders here.

                                    Terms of the Proposed Settlement

                  13.        Pursuant to the Term Sheet, the Debtor and the Committee have agreed to:

 (a) implement certain changes to the Debtor’s governance, including the appointment of the

 Independent Directors; (b) provide the Committee with additional transparency into the operation

 of the Debtor’s business; (c) retain the CRO on updated terms; and (d) implement certain protocols

 governing the ordinary course business operations of the Debtor. The terms of this agreement are

 contained in the Term Sheet.4 A summary of the Term Sheet is as follows:

 3
  All docket numbers refer to the docket maintained by this Court.
 4
  In the event of any inconsistency between the summary of the Term Sheet contained herein and the Term Sheet, the
 Term Sheet will govern.

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  Independent Directors          The Debtor’s general partner, Strand will appoint the
                                 following three (3) Independent Directors: James Seery,
                                 John Dubel, and a third director to be selected by or
                                 otherwise acceptable to the Committee. The Independent
                                 Directors will be granted exclusive control over the
                                 Debtor and its operations. Among other things, the
                                 Independent Directors shall conduct a review of all
                                 current employees as soon as practicable following the
                                 Independent Directors’ appointment, determine whether
                                 and which employees should be subject to a key
                                 employee retention plan and/or key employee incentive
                                 plan and, if applicable, propose plan(s) covering such
                                 employees.       The appointment and powers of the
                                 Independent Directors and the corporate governance
                                 structure shall be pursuant to the documents attached to
                                 the Term Sheet (the “Governing Documents”), which
                                 documents shall be satisfactory to the Committee. Once
                                 appointed, the Independent Directors (i) cannot be
                                 removed without the Committee’s written consent or
                                 Order of the Court, and (ii) may be removed and replaced
                                 at the Committee’s direction upon approval of the Court
                                 (subject in all respects to the right of any party in interest,
                                 including the Debtor and the Independent Directors, to
                                 object to such removal and replacement).

                                 The Independent Directors shall be compensated in a
                                 manner to be determined, with an understanding that the
                                 source of funding, whether directly or via reimbursement,
                                 will be the Debtor.

                                 As soon as practicable after their appointments, the
                                 Independent Directors shall, in consultation with the
                                 Committee, determine whether a CEO should be
                                 appointed for the Debtor. If the Independent Directors
                                 determine that appointment of a CEO is appropriate, the
                                 Independent Directors shall appoint a CEO acceptable to
                                 the Committee as soon as practicable, which may be one
                                 of the Independent Directors. Once appointed, the CEO
                                 cannot be removed without the Committee’s written
                                 consent or Order of the Court.

                                 The Committee shall have regular, direct access to the
                                 Independent Directors, provided, however that (1) if the
                                 communications include FTI Consulting Inc. (“FTI”),
                                 Development Specialists Inc. (“DSI”) shall also


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                                               participate in such communications; and (2) if the
                                               communications include counsel, then either Debtor’s
                                               counsel or, if retained, counsel to the Independent
                                               Directors shall also participate in such communications.

     Role of Mr. James Dondero                 Upon approval of the Term Sheet by the Bankruptcy
                                               Court, Mr. Dondero will (1) resign from his position as a
                                               Board of Director of Strand Advisors, Inc., (2) resign as
                                               an officer of Strand Advisors, Inc., and (3) resign as an
                                               employee of the Debtor.

     CRO                                       Bradley Sharp and DSI shall, subject to approval of the
                                               Court, be retained as the CRO to the Debtor and report to
                                               and be directed by the Independent Directors and, if and
                                               once appointed, the CEO. Mr. Sharp’s and DSI’s
                                               retention is subject to this Court’s approval. The Debtor
                                               has filed the CRO Motion, as supplemented as of the date
                                               hereof, which requests authority to retain Mr. Sharp and
                                               DSI.5

                                               DSI and all other Debtor professionals shall serve at the
                                               direction of the CEO, if any, and the Independent
                                               Directors.

     Estate Claims                             The Committee is granted standing to pursue any and all
                                               estate claims and causes of action against Mr. Dondero,
                                               Mr. Mark Okada, other insiders of the Debtor, and each
                                               of the Related Entities, including any promissory notes
                                               held by any of the foregoing (collectively, the “Estate
                                               Claims”); provided, however, that the term Estate
                                               Claims will not include any estate claim or cause of
                                               action against any then-current employee of the Debtor.

     Document Management,                      The Debtor shall be subject to and comply with the
     Preservation, and Production              document management, preservation, and production
                                               requirements attached to the Term Sheet, which
                                               requirements cannot be modified without the consent of
                                               the Committee or Court order (the “Document
                                               Production Protocol”).

                                               Solely with respect to the investigation and pursuit of
                                               Estate Claims, the document production protocol will
                                               acknowledge that the Committee will have access to the
                                               privileged documents and communications that are
 5
  For the avoidance of doubt, the Debtor is not seeking retention of the CRO pursuant to this Motion. The Debtor is
 seeking such relief pursuant to the CRO Motion (as supplemented).

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                                            within the Debtor’s possession, custody, or control
                                            (“Shared Privilege”).

                                            With respect to determining if any particular document
                                            is subject to the Shared Privilege, the following process
                                            shall be followed: (i) the Committee will request
                                            documents from the Debtor, (ii) the Debtor shall log all
                                            documents requested but withheld on the basis of
                                            privilege, (iii) the Debtor shall not withhold documents
                                            it understands to be subject to the Shared Privilege; (iv)
                                            the Committee will identify each additional document
                                            on the log that the Committee believes is subject to the
                                            Shared Privilege, and (v) a special master or other third
                                            party neutral agreed to by the Committee and the Debtor
                                            shall make a determination if such documents are
                                            subject to the Shared Privilege. The Committee further
                                            agrees that the production of any particular document by
                                            the Debtor under this process will not be used as a basis
                                            for a claim of subject matter waiver.

  Reporting Requirements                    The Debtor shall be subject to and comply with the
                                            reporting requirements attached to the Term Sheet,
                                            which reporting requirements cannot be modified
                                            without the consent of the Committee or Court order
                                            (the “Reporting Requirements”).

  Plan Exclusivity                          The Independent Directors may elect to waive the
                                            Debtor’s exclusive right to file a plan under section
                                            1121 of the Bankruptcy Code.

  Operating Protocols                       The Debtor shall comply with the operating protocols
                                            attached to the Term Sheet, regarding the Debtor’s
                                            operation in the ordinary course of business, which
                                            protocols cannot be modified without the consent of the
                                            Committee or Court order (the “Operating Protocols”
                                            and, together with the Reporting Requirements, the
                                            “Protocols”).


                  14.        By this Motion, the Debtor is seeking the Court’s approval of the Term

 Sheet, the terms contained therein, and the exhibits attached thereto. For the avoidance of doubt,

 approval of the Term Sheet includes the approval of the following:




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                  •       Independent Directors: The appointment of James Seery, John Dubel, and
  a third director to be selected by or otherwise acceptable to the Committee as the Independent
  Directors of Strand, the Debtor’s general partner, with power to oversee the operations of the
  Debtor as set forth in the Term Sheet. Mr. Seery and Mr. Dubel were selected by the Committee,
  and the Debtor agreed to their appointment as Independent Directors. The Debtor is also seeking
  approval of the Governing Documents appointing the Independent Directors, to the extent
  required, and the authority to compensate the Independent Directors either directly from the assets
  of the Debtor or via the reimbursement of Strand of any compensation paid to the Independent
  Directors.

                 •       Document Management and Preservation: The implementation of the
  Document Production Protocol, which will govern how the Debtor retains and produces documents
  and information to the Committee during the pendency of its bankruptcy case. The Debtor is also
  agreeing to the allow the Committee to access certain documents that are otherwise subject to the
  Shared Privilege to assist the Debtor in investigating the Estate Claims.

                •       Estate Claims. The Debtor has agreed to grant the Committee standing to
  pursue any Estate Claims. Estate Claims do not include claims or causes of action against any
  current employees of the Debtor; however, if any employee ceases to be employed by the Debtor,
  the Committee will have standing to pursue claims against such former employee.

                  •       Reporting Requirements and Operating Protocols: The Debtor has agreed
  to provide certain reporting to the Committee and to operate under certain protocols, which set
  forth the parameters of how the Debtor can conduct its business without the requirement of Court
  approval. The Protocols provide, in certain circumstances, how the CRO and the Independent
  Directors will oversee the Debtor’s operations. The purpose of the Protocols is to allow the Debtor
  to function in the ordinary course of its business while providing transparency to the Committee.

                   15.        The Debtor believes that appointing the Independent Directors and

  otherwise effectuating the terms of the Term Sheet is in the best interests of the Debtor, its estate,

  and its creditors.      The Term Sheet will allow the Debtor to proceed with a productive

  reorganization effort that will maximize value for all constituents. Accordingly, the Debtor seeks

  approval of the Term Sheet.

                                              Relief Requested

                   16.        By this Motion, the Debtor seeks entry of an order pursuant to sections

  105(a), 363(b)(1), and 363(c)(1) of the Bankruptcy Code and Bankruptcy Rule 9019: (a) approving

  the Debtor’s settlement with the Committee as set forth in the Term Sheet and outlined herein; (b)

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  authorizing the Debtor to take any action as may be reasonably required to effectuate the terms of

  the Term Sheet, including entering into the Governing Documents and compensating – either

  directly or through reimbursement – the Independent Directors; (c) granting the Committee

  standing to pursue the Estate Claims; and (d) granting related relief.

                                      Authority for the Relief Requested

  A.      Section 363(c)(1) of the Bankruptcy Code Authorizes the Debtor to Enter
          Into Certain Aspects of the Term Sheet in the Ordinary Course

                   17.        Because the Debtor is not settling any claims or causes of action through

  the Term Sheet or otherwise expending estate resources, the Debtor believes that it has the

  authority to effectuate the majority of the transactions and compromises set forth in the Term Sheet

  without Court approval under section 363(c)(1) of the Bankruptcy Code. Specifically, section

  363(c)(1) provides:

                   [i]f the business of the debtor is authorized to be operated under
                   section. . . 1108. . . of this title. . . the trustee may enter into
                   transactions, including the sale or lease of property of the estate, in
                   the ordinary course of business, without notice or a hearing, and may
                   use property of the estate in the ordinary course of business without
                   notice or a hearing.

  11 U.S.C. § 363(c)(1). As such, a debtor may engage in postpetition actions if the debtor is

  authorized to operate its business under section 1108 and such transactions are “in the ordinary

  course of business.”

                   18.        An activity is “ordinary course” if it satisfies both the “horizontal test” and

  the “vertical test.” See, e.g., Denton Cty. Elec. Coop. v. Eldorado Ranch, Ltd. (In re Denton Cty.

  Elec. Coop.), 281 B.R. 876, 882 n.12 (Bankr. N.D. Tex. 2002); see also In re Roth American, Inc.,

  975 F.2d 949, 952 (3d Cir. 1992). The vertical test looks to “whether the transaction subjects a



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  hypothetical creditor to a different economic risk than existed when the creditor originally

  extended credit.” In re Patriot Place, Ltd., 486 B.R. 773, 793 (Bankr. W.D. Tex. 2013). The

  horizontal test considers “whether the transaction was of the sort commonly undertaken by

  companies in the industry.” Id. Here, both the vertical test and horizontal test are satisfied.

                   19.        Under the Term Sheet, the Debtor is seeking authority to (a) appoint the

  Independent Directors at Strand (a non-debtor entity), (b) have Mr. Dondero removed from his

  role at the Debtor and Strand; (c) agree to seek the retention of the CRO under a revised

  engagement letter that provides that the CRO will report to the Independent Directors; (d) grant

  the Committee standing to pursue the Estate Claims; (e) enter into and implement the Document

  Production Protocols; (f) grant the Independent Directors the exclusive right to determine whether

  to waive exclusivity; and (g) enter into and implement the Protocols. Only the compensation of

  the Independent Directors, the entrance into the Protocols (which provide the Committee with

  certain right to object to the Debtor engaging in a “Transaction” (as defined in the Protocols) and

  allow the Debtor to seek a hearing before this Court on an expedited basis), and the grant of

  standing to the Committee to pursue Estate Claims could be construed as outside of the ordinary

  course of business. The balance of the terms of the Term Sheet either involve non-debtors6 or will

  be the subject of separate motions seeking Court approval at the appropriate time.

  B.      The Court Should Approve the Term Sheet Under
          Rule 9019 of the Bankruptcy Code

                   20.        Although the Debtor believes that it has authority to implement the majority

  of the Term Sheet in the ordinary course of its business under section 363(c), the Debtor is seeking


  6
   With respect to the Independent Directors, they are being appointed to a new independent board of Strand, the
  Debtor’s general partner, and Strand is not a debtor in this case or subject to this Court’s jurisdiction.

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  this Court’s approval of the Term Sheet under section 105 of the Bankruptcy Code and Rule 9019

  of the Bankruptcy Rules out of an abundance of caution. Section 105(a) of the Bankruptcy Code

  provides in relevant part that “[t]he court may issue any order, process, or judgment that is

  necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). Section

  105(a) has been interpreted to expressly empower bankruptcy courts with broad equitable powers

  to “craft flexible remedies that, while not expressly authorized by the Code, effect the result the

  Code was designed to obtain.” Official Comm. of Unsecured Creditors of Cybergenics Corp. ex

  rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir. 2003) (en banc); see also Southmark

  Corp. v. Grosz (In re Southmark Corp.), 49 F.3d 1111, 1116 (5th Cir. 1995) (stating that section

  105(a) of the Bankruptcy Code “authorizes bankruptcy courts to fashion such orders as are

  necessary to further the substantive provisions of the Code”).

                   21.        Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a settlement, providing that:

                   On motion by the trustee and after notice and a hearing, the court
                   may approve a compromise or settlement. Notice shall be given to
                   creditors, the United States trustee, the debtor, and indenture
                   trustees as provided in Rule 2002 and to any other entity as the
                   court may direct.

  Fed. R. Bankr. P. 9019(a).


                   22.        Settlements in bankruptcy are favored as a means of minimizing litigation,

  expediting the administration of the bankruptcy estate, and providing for the efficient resolution

  of bankruptcy cases. Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996); see also

  Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a), a bankruptcy court may, after appropriate notice and a hearing, approve

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  a compromise or settlement so long as the proposed settlement is fair, reasonable, and in the best

  interest of the estate. See In re Age Ref. Inc., 801 F.3d 530, 540 (5th Cir. 2015). Ultimately,

  “approval of a compromise is within the sound discretion of the bankruptcy court.” See United

  States v. AWECO, Inc. (In re AWECO, Inc.), 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing,

  624 F.2d at 602–03.

                   23.        In making this determination, the United States Court of Appeals for the

  Fifth Circuit applies a three-party test, “with a focus on comparing ‘the terms of the compromise

  with the rewards of litigation.’” Official Committee of Unsecured Creditors v. Cajun Elec. Power

  Coop. by & through Mabey (In re Cajun Elec. Power Coop.), 119 F. 3d 349, 356 (5th Cir. 1997)

  (citing Jackson Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the

  following factors: “(1) The probability of success in the litigation, with due consideration for the

  uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any

  attendant expense, inconvenience and delay, and (3) All other factors bearing on the wisdom of

  the compromise.” Id.

                   24.        Under the rubric of the third factor referenced above, the Fifth Circuit has

  specified two additional factors that bear on the decision to approve a proposed settlement. First,

  the court should consider “the paramount interest of creditors with proper deference to their

  reasonable views.” Id.; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortg.

  Corp.), 68 F.3d 914, 917 (5th Cir. 1995). Second, the court should consider the “extent to which

  the settlement is truly the product of arms-length bargaining, and not of fraud or collusion.” Age

  Ref. Inc., 801 F.3d at 540; Foster Mortg. Corp., 68 F.3d at 918 (citations omitted).



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                   25.        Here, the Debtor submits that effectuating the transactions set forth in the

  Term Sheet satisfies the Fifth Circuit’s three-part test. The settlement embodied in the Term Sheet

  was driven in large part by the Debtor’s creditors and has the support of the Committee, which

  consists of the Debtor’s principal creditors. The Term Sheet was negotiated at arm’s length, and

  there was no fraud or collusion in its negotiation. The settlement is also fair and reasonable and

  in the best interests of the Debtor’s estate and also resolves the open disputes regarding the CRO

  Motion, the Motion of Debtor for Interim and Final Orders Authorizing (A) Continuance of

  Existing Cash Management System, (B) Continued Use of the Prime Account, (C) Limited Waiver,

  as supplemented [Docket Nos. 51 & 259], and Precautionary Motion of the Debtor for Order

  Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary Course of

  Business [Docket No. 76].

                   26.        The Debtor and members of the Committee have been entangled in highly

  contentious litigation that has spanned many years and multiple venues. As evidenced by the brief

  history of the Debtor’s bankruptcy case,7 that contention and mistrust has carried over into this

  proceeding and could derail any chance that the Debtor has to successfully reorganize and structure

  a plan to pay its creditors. The governance and operational changes set forth in the Term Sheet,

  will provide greater transparency to the Committee and start the process of rebuilding the trust

  necessary to negotiate a successful resolution of this case. Without the Term Sheet, the Debtor



  7
   See, e.g., Declaration of Frank Waterhouse in Support of First Day Motions [Docket No. 11], Motion of the Official
  Committee of Unsecured Creditors for an Order Transferring Venue of this Case to the United States Bankruptcy
  Court for the Northern District of Texas [Docket No. 85], Omnibus Objection of the Official Committee of Unsecured
  Creditors to the Debtor’s (I) Motion for Final Order Authorizing Continuance of the Existing Cash Management
  System, (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief Restructuring Officers,
  and (III) Precautionary Motion for Approval of Protocol for “Ordinary Course” Transactions [Docket No. 130], and
  United States Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee [Docket No. 271].

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  anticipates that the Committee would move to appoint a chapter 11 trustee and the U.S. Trustee

  has already done so (without even seeing the Term Sheet). The Debtor will contest such motions

  because the appointment of a chapter 11 trustee could gravely harm the Debtor’s business. The

  implementation of the Term Sheet will head off any potential issues that could arise, eliminate

  costly, time consuming and uncertain litigation, and give the Debtor sufficient breathing room to

  work towards rebuilding trust with its creditor body and allow the Debtor to exit bankruptcy and

  preserve the value of its business. The Debtor’s bankruptcy case has been pending for over two

  and a half months, and it is time for the parties to put the acrimony that marked the initial stages

  of this case behind them and to move forward in a productive manner – precisely what the Term

  Sheet seeks to accomplish.

  C.      Consummating the Settlement Agreement
          is a Sound Exercise of the Debtors’ Business Judgment.

                   27.        Section 363(b)(1) of the Bankruptcy Code authorizes a debtor in possession

  to “use, sell, or lease, other than in the ordinary course of business, property of the estate,” after

  notice and a hearing. It is well established in this jurisdiction that a debtor may use property of

  the estate outside the ordinary course of business under this provision if there is a good business

  reason for doing so. See, e.g., ASARCO, Inc. v. Elliott Mgmt. (In re ASARCO, L.L.C.), 650 F.3d

  593, 601 (5th Cir. 2011) (“[F]or the debtor-in-possession or trustee to satisfy its fiduciary duty to

  the debtor, creditors, and equity holders, there must be some articulated business justification for

  using, selling, or leasing the property outside the ordinary course of business.”) (quoting In re

  Cont’l Air Lines, Inc., 780 F.3d 1223, 1226 (5th Cir. 1986)); 441 B.R. 813, 830 (Bankr. S.D. Tex.




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  2010); GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Bldg. Grp., Ltd.),

  331 B.R. 251, 254 (Bankr. N.D. Tex. 2005).

                   28.        The transactions contemplated by the Term Sheet are within the sound

  business judgment of the Debtor. The Term Sheet resolves potentially costly and protracted

  litigation with the Committee over the Debtor’s corporate governance and will give the Debtor the

  breathing room necessary to negotiate and effectuate the terms of a plan acceptable to the Debtor’s

  creditors. Further, providing standing to the Committee to investigate Estate Claims and the

  payment of the Independent Directors from the assets of the estate are each necessary components

  of the Term Sheet. The Committee would not have agreed to the Term Sheet without the grant of

  standing to investigate Estate Claims. Moreover, Strand, a non-debtor, is unable to cover the costs

  of the Independent Directors. As such, there is a good business reason for the Debtor’s payment

  of the Independent Directors’ compensation: the Term Sheet and the appointment of the

  Independent Directors would not have been agreed to or possible without that condition.8 The

  foregoing is sufficient grounds to approve the Term Sheet and authorize the Debtor to effectuate

  the terms of the Term Sheet under Section 363(b)(1).

                                                 No Prior Request

                   29.        No previous request for the relief sought herein has been made to this, or

  any other, Court.




  8
    Further, although the Debtor seeks to reimburse Strand for the cost of the Independent Directors, the Debtor is
  otherwise obligated to reimburse Strand for any costs or expenses incurred by Strand in its management of the Debtor.
  See Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P., §
  3.10(b).

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                                                      Notice

                   30.        Notice of this Motion shall be given to the following parties or, in lieu

  thereof, to their counsel, if known: (a) the Office of the United States Trustee; (b) the Office of

  the United States Attorney for the Northern District of Texas; (c) the Debtor’s principal secured

  parties; (d) counsel to the Committee; and (e) parties requesting notice pursuant to Bankruptcy

  Rule 2002. The Debtor submits that, in light of the nature of the relief requested, no other or

  further notice need be given.

                   WHEREFORE, for the reasons set forth herein, the Debtor respectfully requests

  that the Court enter an Order, substantially in the form attached hereto as Exhibit C, (a) approving

  the Debtor’s settlement with the Committee as set forth in the Term Sheet and outlined herein; (b)

  authorizing the Debtor to take any action as may be reasonably required to effectuate the terms of

  the Term Sheet, including entering into the Governing Documents and compensating – either

  directly or through reimbursement – the Independent Directors; and (c) granting related relief.




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   Dated: December 27, 2019        PACHULSKI STANG ZIEHL & JONES LLP
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                                   -and-

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                                   Counsel and Proposed Counsel for the Debtor and
                                   Debtor in Possession




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                              Highland Capital Management, L.P.

                                    Preliminary Term Sheet

         This term sheet (“Term Sheet”) outlines the principal terms of a proposed settlement
  between Highland Capital Management, L.P. (the “Debtor”) and the Official Committee of
  Unsecured Creditors (the “Committee”) in the chapter 11 case captioned In re Highland Capital
  Mgm’t, L.P, Case No. 19-34054 (SGJ) (the “Chapter 11 Case”), pending in the Bankruptcy Court
  for the Northern District of Texas (the “Bankruptcy Court”), to resolve a good faith dispute
  between the parties related to the Debtor’s corporate governance, and specifically, the
  Committee’s various objections to certain relief being sought by the Debtors in the Chapter 11
  Case [Del. Docket No. 125]. This Term Sheet shall be subject to approval by the Bankruptcy
  Court.

   Topic                                Proposed Terms
   Parties                              Highland Capital Management, L.P. (the “Debtor”).

                                        The Official Committee of Unsecured Creditors of
                                        Highland Capital Management, L.P. (the “Committee”).
   Independent Directors                The Debtor’s general partner, Strand Advisors, Inc., will
                                        appoint the following three (3) independent directors (the
                                        “Independent Directors”): James Seery, John Dubel, and
                                        a third director to be selected by or otherwise acceptable
                                        to the Committee. The Independent Directors will be
                                        granted exclusive control over the Debtor and its
                                        operations. Among other things, the Independent
                                        Directors shall conduct a review of all current employees
                                        as soon as practicable following the Independent
                                        Directors’ appointment, determine whether and which
                                        employees should be subject to a key employee retention
                                        plan and/or key employee incentive plan and, if
                                        applicable, propose plan(s) covering such employees.
                                        The appointment and powers of the Independent
                                        Directors and the corporate governance structure shall be
                                        pursuant to the documents attached hereto as Exhibit A,
                                        which documents shall be satisfactory to the Committee.
                                        Once appointed, the Independent Directors (i) cannot be
                                        removed without the Committee’s written consent or
                                        Order of the Court, and (ii) may be removed and replaced
                                        at the Committee’s direction upon approval of the Court
                                        (subject in all respects to the right of any party in interest,
                                        including the Debtor and the Independent Directors, to
                                        object to such removal and replacement).

                                        The Independent Directors shall be compensated in a
                                        manner to be determined with an understanding that the




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                                  source of funding, whether directly or via reimbursement,
                                  will be the Debtor.

                                  As soon as practicable after their appointments, the
                                  Independent Directors shall, in consultation with the
                                  Committee, determine whether an interim Chief
                                  Executive Officer (the “CEO”) should be appointed for
                                  the Debtor. If the Independent Directors determine that
                                  appointment of a CEO is appropriate, the Independent
                                  Directors shall appoint a CEO acceptable to the
                                  Committee as soon as practicable, which may be one of
                                  the Independent Directors. Once appointed, the CEO
                                  cannot be removed without the Committee’s written
                                  consent or Order of the Court.

                                  The Committee shall have regular, direct access to the
                                  Independent Directors, provided, however that (1) if the
                                  communications include FTI Consulting Inc. (“FTI”),
                                  Development Specialists Inc. (“DSI”) shall also
                                  participate in such communications; and (2) if the
                                  communications include counsel, then either Debtor’s
                                  counsel or, if retained, counsel to the Independent
                                  Directors shall also participate in such communications.
   Role of Mr. James Dondero      Upon approval of this Term Sheet by the Bankruptcy
                                  Court, Mr. Dondero will (1) resign from his position as a
                                  Board of Director of Strand Advisors, Inc., (2) resign as
                                  an officer of Strand Advisors, Inc., and (3) resign as an
                                  employee of the Debtor.
   CRO                            DSI shall, subject to approval of the Bankruptcy Court,
                                  be retained as chief restructuring officer (“CRO”) to the
                                  Debtor and report to and be directed by the Independent
                                  Directors and, if and once appointed, the CEO. The
                                  retention and scope of duties of DSI shall be pursuant to
                                  the Further Amended Retention Agreement, attached
                                  hereto as Exhibit B.

                                  DSI and all other Debtor professionals shall serve at the
                                  direction of the CEO, if any, and the Independent
                                  Directors.
   Estate Claims                  The Committee is granted standing to pursue any and all
                                  estate claims and causes of action against Mr. Dondero,
                                  Mr. Okada, other insiders of the Debtor, and each of the
                                  Related Entities, including any promissory notes held by
                                  any of the foregoing (collectively, the “Estate Claims”);
                                  provided, however, that the term Estate Claims will not




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                                  include any estate claim or cause of action against any
                                  then-current employee of the Debtor.
   Document Management,           The Debtor shall be subject to and comply with the
   Preservation, and Production   document management, preservation, and production
                                  requirements attached hereto as Exhibit C, which
                                  requirements cannot be modified without the consent of
                                  the Committee or Court order (the “Document
                                  Production Protocol”).

                                  Solely with respect to the investigation and pursuit of
                                  Estate Claims, the document production protocol will
                                  acknowledge that the Committee will have access to the
                                  privileged documents and communications that are
                                  within the Debtor’s possession, custody, or control
                                  (“Shared Privilege”).

                                  With respect to determining if any particular document
                                  is subject to the Shared Privilege, the following process
                                  shall be followed: (i) the Committee will request
                                  documents from the Debtor, (ii) the Debtor shall log all
                                  documents requested but withheld on the basis of
                                  privilege, (iii) the Debtor shall not withhold documents
                                  it understands to be subject to the Shared Privilege; (iv)
                                  the Committee will identify each additional document
                                  on the log that the Committee believes is subject to the
                                  Shared Privilege, and (v) a special master or other third
                                  party neutral agreed to by the Committee and the Debtor
                                  shall make a determination if such documents are
                                  subject to the Shared Privilege. The Committee further
                                  agrees that the production of any particular document by
                                  the Debtor under this process will not be used as a basis
                                  for a claim of subject matter waiver.
   Reporting Requirements         The Debtor shall be subject to and comply with the
                                  reporting requirements attached hereto as Exhibit D,
                                  which reporting requirements cannot be modified
                                  without the consent of the Committee or Court order
                                  (the “Reporting Requirements”).
   Plan Exclusivity               The Independent Directors may elect to waive the
                                  Debtor’s exclusive right to file a plan under section
                                  1121 of the Bankruptcy Code.
   Operating Protocols            The Debtor shall comply with the operating protocols
                                  set forth in Exhibit D hereto, regarding the Debtor’s
                                  operation in the ordinary course of business, which
                                  protocols cannot be modified without the consent of the
                                  Committee or Court order.




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   Reservation of Rights          This agreement is without prejudice to the Committee’s
                                  rights to, among other things, seek the appointment of a
                                  trustee or examiner at a later date. Nothing herein shall
                                  constitute or be construed as a waiver of any right of the
                                  Debtor or any other party in interest to contest the
                                  appointment of a trustee or examiner, and all such rights
                                  are expressly reserved.




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                                     Exhibit A

                      Debtor’s Corporate Governance Documents




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                                     Exhibit B

                            Amended DSI Retention Letter




                                                                        App. 0253
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                                     Exhibit C

                            Document Production Protocol




                                                                        App. 0254
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                                                             PSZJ Revisions 12/23/19
                                                            Privileged & Confidential
                                                                   Subject to FRE 408
                                      Exhibit D

                               Reporting Requirements




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                  WRITTEN CONSENT OF SOLE STOCKHOLDER AND DIRECTOR

                                                      OF

                                        STRAND ADVISORS, INC.

                                                   [ _____ ]




           Pursuant to the provisions of the General Corporation Law of the State of Delaware (the “DGCL”)
  and consistent with the provisions of the Certificate of Incorporation (the “Certificate”) and Bylaws (the
  “Bylaws”) of Strand Advisors, Inc., a Delaware corporation (the “Company”), the undersigned, being the
  holder of all of the issued and outstanding shares of common stock, par value $0.01 per share, of the
  Company and the sole director of the Company (the “Stockholder”), acting by written consent without a
  meeting pursuant to Section 228 of the DGCL and Article IV, Section 6, and Article XII of the Bylaws,
  does hereby consent to the adoption of the following resolutions and to the taking of the actions
  contemplated thereby, in each case with the same force and effect as if presented to and adopted at a meeting
  of the stockholders:

      I.       AMENDMENT OF BYLAWS

          WHEREAS, it is acknowledged that the Board of Directors of the Company (the “Board”) has
  heretofore been fixed at one (1) and that the Board currently consists of James Dondero;

         WHEREAS, pursuant to Article XII of the Bylaws, the Stockholder wishes to amend the Bylaws in
  the manner set forth on Appendix A hereto (the “Bylaws Amendment”) to increase the size of the Board
  from one (1) to three (3) directors; and

         NOW, THEREFORE, BE IT RESOLVED, that the Bylaws Amendment is hereby authorized and
  approved and the Board is increased from one (1) to three (3) directors;

         RESOLVED FURTHER, that any officer of the Company is authorized to take any such actions as
  may be required to effectuate the Bylaws Amendment; and

          RESOLVED FURTHER, that any action taken by any officer of the Company on or prior to the date
  hereof to effectuate such Bylaws Amendment is hereby authorized and affirmed.

      II.      ELECTION OF DIRECTORS

         WHEREAS, the Stockholder desires to appoint James Seery, John Dubel, and
  _______________________ to the Board and desires that such individuals constitute the whole Board;

          NOW, THEREFORE, BE IT RESOLVED, that James Seery, John Dubel, and
  _______________________, having consented to act as such, be, and each of them hereby is, appointed as
  a director, to serve as a director of the Company and to hold such office until such director’s respective
  successor shall have been duly elected or appointed and shall qualify, or until such director’s death,
  resignation or removal;

            RESOLVED FURTHER, that any officer of the Company is authorized to take any such actions as



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                                                                                                     Exhibit A
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  may be required to effectuate the appointment of the foregoing directors, including executing an
  indemnification agreement in favor of such directors in substantially the form attached hereto as Appendix
  B (each, an “Indemnification Agreement”);

          RESOLVED FURTHER, that any action taken by any officer of the Company on or prior to the date
  hereof to effectuate the appointment of such directors, including the execution of an Indemnification
  Agreement, is hereby authorized and affirmed.

         RESOLVED FURTHER, that James Dondero and any other directors of the Company are hereby
  removed as directors of the Company;

          RESOLVED FURTHER, that the directors appointed pursuant to these resolutions shall, pursuant to
  the terms of the Bylaws, appoint a Chairman of the Board.

      III.      STIPULATION WITH THE BANKRUPTCY COURT

          WHEREAS, on October 16, 2019, Highland Capital Management, L.P. (“HCMLP”) filed for chapter
  11 bankruptcy protection in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS)
  (the “Bankruptcy Case”);

             WHEREAS, the Company is the general partner for HCMLP;

         WHEREAS, the Bankruptcy Case was transferred to the Bankruptcy Court for the Northern District
  of Texas, Case No. 19-34054-sgj11 (the “Texas Court”) by order of the Bankruptcy Court for the District
  of Delaware on December 4, 2019;

           WHEREAS, the Company and the Stockholder wish to enter into a stipulation with HCMLP and the
  Official Unsecured Creditors Committee appointed in the Bankruptcy Case (the “Committee”), such
  stipulation to be approved by the Texas Court, whereby the Stockholder will agree (a) not to transfer or
  assign his shares in the Company or exercise the voting power of such shares to remove any member of the
  Board appointed pursuant to these resolutions or further change the authorized number of directors from
  three (3) directors; (b) to exercise the voting power of his shares so as to cause each member of the Board
  appointed by this resolutions to be re-elected at upon the expiration of his or her term; and (c) upon the
  death, disability, or resignation of _________, will exercise the voting power of such shares so as to cause
  the resulting vacancy to be filled by a successor that is both independent and acceptable to the Stockholder
  and the Committee (the “Stipulation”);

            WHEREAS, for purposes of the Stipulation, “independent” would exclude the Stockholder, any
  affiliate of the Stockholder, and any member of management of the Company; and

          WHEREAS, it is in the intent of the parties that the Stipulation will no longer be effective or bind
  Strand or the Stockholder following the termination of the Bankruptcy Case.

          NOW, THEREFORE, BE IT RESOLVED, that the Company is authorized to take such actions as may
  be necessary to enter into and effectuate the Stipulation in the manner and on the terms set forth above,
  including, but not limited to, further amending the Certificate, Bylaws, or any other corporate governance
  documents; and

          RESOLVED FURTHER, that Scott Ellington, as an officer of the Company, is authorized to take any
  such actions as may be required to enter into and effectuate the Stipulation in the manner set forth herein;
  and



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          RESOLVED FURTHER, that any action taken by Scott Ellington or any other officer of the Company
  on or prior to the date hereof to effectuate such Stipulation is hereby authorized and affirmed.

                                        [Signature pages follow.]




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          IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
  respective date and year first appearing above.

                                                  STOCKHOLDER:



                                                  _____________________
                                                  James Dondero




               [Signature Page to Written Consent of Sole Stockholder of Strand Advisors, Inc.]




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                                    First Amendment to Bylaws of
                                         Strand Advisors, Inc.

          Strand Advisors, Inc. (the “Company”), a corporation organized and existing under and by
  virtue of the General Corporation Law of the State of Delaware, does hereby certify that the
  Company’s sole stockholder, acting by written consent without a meeting, resolved to amend the
  Company’s Bylaws (the “Bylaws”) as follows:

         1.      Article III, Section 2, of the Bylaws is hereby deleted in its entirety and replaced
  with the following:

          Section 2. Number of Directors. The number of directors which shall constitute the
          whole Board shall be three (3).

          2.       The following shall be added as Section 6 to Article III of the Bylaws:

          Section 6. Director Qualifications. Each director appointed to serve on the Board
          shall (A) (i) be an independent director, (ii) not be affiliated with the corporation’s
          stockholders, and (iii) not be an officer of the corporation; and (B) have been (x)
          nominated by the stockholders, (y) a retired bankruptcy judge and nominated
          jointly by the stockholders and any official committee of unsecured creditors in the
          chapter 11 bankruptcy of Highland Capital Management, L.P. (the “Committee”)
          currently pending in the Bankruptcy Court for the Northern District of Texas (the
          “Court”), Case No. 19-34054-sgj11; or (z) nominated by the Committee and
          reasonably acceptable to the stockholders.

          3.       The following shall be added as Section 7 to Article III of the Bylaws:

          Section 7. Removal of Directors. Once appointed, the Independent Directors (i)
          cannot be removed without the Committee’s written consent or Order of the Court,
          and (ii) may be removed and replaced at the Committee’s direction upon approval
          of the Court (subject in all respects to the right of any party in interest, including
          the Debtor and the Independent Directors, to object to such removal and
          replacement).

          Except as expressly amended hereby, the terms of the Company’s Bylaws shall remain in
  full force and effect.

                                       [Signature Page Follows]




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          IN WITNESS WHEREOF, the Company has caused this amendment to be signed this [ __ ]
  day of [ __ ], 20__.

                                           STRAND ADVISORS, INC.


                                           _________________________
                                           By: Scott Ellington
                                           Its: Secretary




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                  INSERT STRAND ADVISORS, INC. LETTERHEAD

  [ ______ ]



  [NAME]
  [ADDRESS]
  [ADDRESS]
  [ADDRESS]

          Re:      Strand Advisors, Inc. – Director Agreement

  Dear [______]:

  On behalf of Strand Advisors, Inc. (the “Company”), I am pleased to have you join the Company’s Board
  of Directors. This letter sets forth the terms of the Director Agreement (the “Agreement”) that the Company
  is offering to you.

          1.       APPOINTMENT TO THE BOARD OF DIRECTORS.

                   a.         Title, Term and Responsibilities.

                           i.     Subject to terms set forth herein, the Company agrees to appoint you to
  serve as a Director on the Company’s Board of Directors (the “Board”), and you hereby accept such
  appointment the date you sign this Agreement (the “Effective Date”). You will serve as a Director of the
  Board from the Effective Date until you voluntarily resign, are removed from the Board, or are not re-
  elected (the “Term”). Your rights, duties and obligations as a Director shall be governed by the Certificate
  of Incorporation and Bylaws of the Company, each as amended from time to time (collectively, the
  “Governing Documents”), except that where the Governing Documents conflict with this Agreement, this
  Agreement shall control.

                           ii.     You acknowledge and understand that the Company is the general partner
  of Highland Capital Management, L.P. (“HCMLP”) and that HCMLP is currently the debtor in possession
  in a chapter 11 bankruptcy proceeding pending in the Northern District of Texas (the “Bankruptcy”). Your
  rights, duties, and obligations may in certain instances require your involvement, either directly or
  indirectly, in the Bankruptcy and such rights, duties, and obligations may be impacted in whole or in part
  by the Bankruptcy.

                   b.       Mandatory Board Meeting Attendance. As a Director, you agree to apply all
  reasonable efforts to attend each regular meeting of the Board and no fewer than fifty percent (50%) of
  these meetings of the Board in person, and no more than fifty percent (50%) of such meetings by telephone
  or teleconference. You also agree to devote sufficient time to matters that may arise at the Company from
  time to time that require your attention as a Director.

                    c.       Independent Contractor. Under this Agreement, your relationship with the
  Company will be that of an independent contractor as you will not be an employee of the Company nor
  eligible to participate in regular employee benefit and compensation plans of the Company.

                   d.       Information Provided by the Companies. The Company shall: (i) provide you with
  reasonable access to management and other representatives of the Company, except to the extent that any
  such access may impair any attorney client privilege to which the Company may be entitled; and (ii) furnish
  all data, material, and other information concerning the business, assets, liabilities, operations, cash flows,



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  properties, financial condition and prospects of the Company that you reasonably request in connection
  with the services to be provided to the Company. You will rely, without further independent verification,
  on the accuracy and completeness of all publicly available information and information that is furnished by
  or on behalf of the Company and otherwise reviewed by you in connection with the services performed for
  the Company. The Company acknowledges and agrees that you are not responsible for the accuracy or
  completeness of such information and shall not be responsible for any inaccuracies or omissions therein,
  provided that if you become aware of material inaccuracies or errors in any such information you shall
  promptly notify the Board of such errors, inaccuracies or concerns. You are under no obligation to update
  data submitted to you or to review any other information unless specifically requested by the Board to do
  so.

          2.       COMPENSATION AND BENEFITS.

                  a.      Retainer. The Company will pay you a retainer for each month you serve on the
  Board (the “Retainer”) to be paid in monthly installments of $[TBD]. The Company’s obligation to pay the
  Retainer will cease upon the termination of the Term.

                   b.      Expense Reimbursement. The Company will reimburse you for all reasonable
  travel or other expenses, including expenses of counsel, incurred by you in connection with your services
  hereunder, in accordance with the Company’s expense reimbursement policy as in effect from time to time.

                   c.         Invoices; Payment.

                         i.        In order to receive the compensation and reimbursement set forth in this
  Section 2, you are required to send to the Company regular monthly invoices indicating your fees, costs,
  and expenses incurred. Payment will be due to you within 10 business days after receipt of each such
  invoice, subject to the Company’s receipt of appropriate documentation required by the Company’s
  expenses reimbursement policy.

                        ii.       You further agree that the Company’s obligation to pay the compensation
  and reimbursement set forth in this Section 2 is conditioned in all respects on the entry of a final order in
  the court overseeing the Bankruptcy that authorizes and requires HCMLP to reimburse the Company for
  all such payments to you.

                  d.      Indemnification; D&O Insurance. You will receive indemnification as a Director
  of the Company on the terms set forth in that certain Indemnification Agreement, dated December 5, 2019,
  a copy of which is attached hereto as Appendix A (the “Indemnification Agreement”). You will also be
  provided coverage under the Company’s directors’ and officers’ insurance policy as set forth in the
  Indemnification Agreement.

                  e.       Tax Indemnification. You acknowledge that the Company will not be responsible
  for the payment of any federal or state taxes that might be assessed with respect to the Retainer and you
  agree to be responsible for all such taxes.

          3.       PROPRIETARY INFORMATION OBLIGATIONS.

                    a.      Proprietary Information. You agree that during the Term and thereafter that you
  will take all steps reasonably necessary to hold all information of the Company, its affiliates, and related
  entities, which a reasonable person would believe to be confidential or proprietary information, in trust and
  confidence, and not disclose any such confidential or proprietary information to any third party without
  first obtaining the Company’s express written consent on a case-by-case basis.



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                   b.      Third Party Information. The Company has received and will in the future receive
  from third parties confidential or proprietary information (“Third Party Information”) subject to a duty on
  the Company’s part to maintain the confidentiality of such information and to use it only for certain limited
  purposes. You agree to hold such Third Party Information in confidence and not to disclose itto anyone
  (other than Company personnel who need to know such information in connection with their work for
  Company) or to use, except in connection with your services for Company under this Agreement, Third
  Party Information unless expressly authorized in writing by the Company.

                    c.     Return of Company Property. Upon the end of the Term or upon the Company’s
  earlier request, you agree to deliver to the Company any and all notes, materials and documents, together
  with any copies thereof, which contain or disclose any confidential or proprietary information or Third
  Party Information.

          4.       OUTSIDE ACTIVITIES.

                    a.      Investments and Interests. Except as permitted by Section 4(b), you agree not to
  participate in, directly or indirectly, any position or investment known by you to be materially adverse to
  the Company or any of its affiliates or related entities.

                   b.       Activities. Except with the prior written consent of the Board, you will not during
  your tenure as a member of the Company’s Board undertake or engage in any other directorship,
  employment or business enterprise in direct competition with the Company or any of its affiliates or related
  entities, other than ones in which you are a passive investor or other activities in which you were a
  participant prior to your appointment to the Board as disclosed to the Company.

                   c.     Other Agreements. You agree that you will not disclose to the Company or use on
  behalf of the Company any confidential information governed by any agreement between you and any third
  party except in accordance with such agreement.

          5.       TERMINATION OF DIRECTORSHIP.

                   a.      Voluntary Resignation, Removal Pursuant to Bylaws and Stockholder Action. You
  may resign from the Board at any time with or without advance notice, with or without reason. Subject to
  any orders or agreements entered into in connection with the Bankruptcy, you may be removed from the
  Board at any time, for any reason, in any manner provided by the Governing Documents and applicable
  law or by an affirmative vote of a majority of the stockholders of the Company.

                  b.      Continuation. The provisions of this Agreement that give the parties rights or
  obligations beyond the termination of this Agreement will survive and continue to bind the parties.

                  c.      Payment of Fees; Reimbursement. Following termination of this Agreement, any
  undisputed fees and expenses due to you will be remitted promptly following receipt by the Company of
  any outstanding invoices.

          6.       GENERAL PROVISIONS.

                  a.        Severability. Whenever possible, each provision of this Agreement will be
  interpreted in such manner as to be effective and valid under applicable law. If any provision of this
  Agreement is held to be invalid, illegal or unenforceable such provision will be reformed, construed and
  enforced to render it valid, legal, and enforceable consistent with the intent of the parties insofar as possible.




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                   b.       Entire Agreement. This Agreement constitutes the entire agreement between you
  and the Company with respect to your service as a Director and supersedes any prior agreement, promise,
  representation or statement written between you and the Company with regard to this subject matter. It is
  entered into without reliance on any promise, representation, statement or agreement other than those
  expressly contained or incorporated herein, and it cannot be modified or amended except in a writing signed
  by the party or parties affected by such modification or amendment.

                  c.       Successors and Assigns. This Agreement is intended to bind and inure to the
  benefit of and be enforceable by you and the Company and our respective successors, assigns, heirs,
  executors and administrators, except that you may not assign any of your rights or duties hereunder without
  the written consent of the Company.

                 d.       Governing Law. This Agreement will be governed by the law of the State of
  Delaware as applied to contracts made and performed entirely within Delaware.

  We are all delighted to be able to extend you this offer and look forward to working with you. To indicate
  your acceptance of the Company’s offer, please sign and date this Agreement below.

  Sincerely,

  STRAND ADVISORS, INC.




  By: Scott Ellington
  Its: Secretary

                                          [Signature Page Follows]




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  ACCEPTED AND AGREED:



  _________________________
  [NAME]
  Date: _____________________




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                                 INDEMNIFICATION AGREEMENT

            This Indemnification Agreement (“Agreement”), dated as of [ _____ ], is by and
     between STRAND ADVISORS, INC., a Delaware corporation (the “Company”), and
     [_____] (the “Indemnitee”).

             WHEREAS, Indemnitee has agreed to serve as a member of the Company’s board
     of directors (the “Board”) effective as of the date hereof;

             WHEREAS, the Board has determined that enhancing the ability of the Company
     to retain and attract as directors the most capable Persons is in the best interests of the
     Company and that the Company therefore should seek to assure such Persons that
     indemnification and insurance coverage is available; and

             WHEREAS, in recognition of the need to provide Indemnitee with protection
     against personal liability, in order to procure Indemnitee’s service as a director of the
     Company, in order to enhance Indemnitee’s ability to serve the Company in an effective
     manner and in order to provide such protection pursuant to express contract rights (intended
     to be enforceable irrespective of, among other things, any amendment to the Company’s
     Bylaws (as may be amended further from time to time, the “Bylaws”), any change in the
     composition of the Board or any change in control, business combination or similar
     transaction relating to the Company), the Company wishes to provide in this Agreement
     for the indemnification of, and the advancement of Expenses (as defined in Section 1(g)
     below) to, Indemnitee as set forth in this Agreement and for the coverage of Indemnitee
     under the Company’s directors’ and officers’ liability or similar insurance policies (“D&O
     Insurance”).

           NOW, THEREFORE, in consideration of the foregoing and the Indemnitee’s
     agreement to provide services to the Company, the parties agree as follows:

     1.     Definitions. For purposes of this Agreement, the following terms shall have the
     following meanings:

              (a)     “Change in Control” means the occurrence of any of the following: (i) the
     direct or indirect sale, lease, transfer, conveyance or other disposition, in one or a series of
     related transactions (including any merger or consolidation or whether by operation of law
     or otherwise), of all or substantially all of the properties or assets of the Company and its
     subsidiaries, to a third party purchaser (or group of affiliated third party purchasers) or (ii)
     the consummation of any transaction (including any merger or consolidation or whether by
     operation of law or otherwise), the result of which is that a third party purchaser (or group
     of affiliated third party purchasers) becomes the beneficial owner, directly or indirectly, of
     more than fifty percent (50%) of the then outstanding Shares or of the surviving entity of
     any such merger or consolidation.

            (b)     “Claim” means:

                     (i)     any threatened, pending or completed action, suit, claim, demand,
     arbitration, inquiry, hearing, proceeding or alternative dispute resolution mechanism, or



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     any actual, threatened or completed proceeding, including any and all appeals, in each case,
     whether brought by or in the right of the Company or otherwise, whether civil, criminal,
     administrative, arbitrative, investigative or other, whether formal or informal, and whether
     made pursuant to federal, state, local, foreign or other law, and whether or not commenced
     prior to the date of this Agreement, in which Indemnitee was, is or will be involved as a
     party or otherwise, by reason of or relating to either (a) any action or alleged action taken
     by Indemnitee (or failure or alleged failure to act) or of any action or alleged action (or
     failure or alleged failure to act) on Indemnitee’s part, while acting in his or her Corporate
     Status or (b) the fact that Indemnitee is or was serving at the request of the Company or
     any subsidiary of the Company as director, officer, employee, partner, member, manager,
     trustee, fiduciary or agent of another Enterprise, in each case, whether or not serving in
     such capacity at the time any Loss or Expense is paid or incurred for which indemnification
     or advancement of Expenses can be provided under this Agreement, except one initiated
     by Indemnitee to enforce his or her rights under this Agreement; or

                   (ii)    any inquiry, hearing or investigation that the Indemnitee determines
     might lead to the institution of any such action, suit, proceeding or alternative dispute
     resolution mechanism.

             (c)      “Controlled Entity” means any corporation, limited liability company,
     partnership, joint venture, trust or other Enterprise, whether or not for profit, that is, directly
     or indirectly, controlled by the Company. For purposes of this definition, the term “control”
     means the possession, directly or indirectly, of the power to direct, or cause the direction
     of, the management or policies of an Enterprise, whether through the ownership of voting
     securities, through other voting rights, by contract or otherwise.

             (d)     “Corporate Status” means the status of a Person who is or was a director,
     officer, employee, partner, member, manager, trustee, fiduciary or agent of the Company
     or of any other Enterprise which such Person is or was serving at the request of the
     Company or any subsidiary of the Company. In addition to any service at the actual request
     of the Company, Indemnitee will be deemed, for purposes of this Agreement, to be serving
     or to have served at the request of the Company or any subsidiary of the Company as a
     director, officer, employee, partner, member, manager, trustee, fiduciary or agent of
     another Enterprise if Indemnitee is or was serving as a director, officer, employee, partner,
     member, manager, fiduciary, trustee or agent of such Enterprise and (i) such Enterprise is
     or at the time of such service was a Controlled Entity, (ii) such Enterprise is or at the time
     of such service was an employee benefit plan (or related trust) sponsored or maintained by
     the Company or a Controlled Entity or (iii) the Company or a Controlled Entity, directly
     or indirectly, caused Indemnitee to be nominated, elected, appointed, designated,
     employed, engaged or selected to serve in such capacity.

            (e)     “Disinterested Director” means a director of the Company who is not and
     was not a party to the Claim in respect of which indemnification is sought by Indemnitee.
     Under no circumstances will James Dondero be considered a Disinterested Director.

            (f)     “Enterprise” means the Company or any subsidiary of the Company or any
     other corporation, partnership, limited liability company, joint venture, employee benefit



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     plan, trust or other entity or other enterprise of which Indemnitee is or was serving at the
     request of the Company or any subsidiary of the Company in a Corporate Status.

             (g)    “Expenses” means any and all expenses, fees, including attorneys’,
     witnesses’ and experts’ fees, disbursements and retainers, court costs, transcript costs,
     travel expenses, duplicating, printing and binding costs, telephone charges, postage, fax
     transmission charges, secretarial services, delivery services fees, and all other fees, costs,
     disbursements and expenses paid or incurred in connection with investigating, defending,
     prosecuting, being a witness in or participating in (including on appeal), or preparing to
     defend, prosecute, be a witness or participate in, any Claim. Expenses also shall include (i)
     Expenses paid or incurred in connection with any appeal resulting from any Claim,
     including, without limitation, the premium, security for, and other costs relating to any cost
     bond, supersedeas bond, or other appeal bond or its equivalent, and (ii) for purposes of
     Section 4 only, Expenses incurred by Indemnitee in connection with the interpretation,
     enforcement or defense of Indemnitee’s rights under this Agreement, by litigation or
     otherwise. Expenses, however, shall not include amounts paid in settlement by Indemnitee
     or the amount of judgments or fines against Indemnitee.

             (h)    “Exchange Act” means the Securities Exchange Act of 1934, as amended,
     or any successor statute thereto, and the rules and regulations of the United States Securities
     and Exchange Commission promulgated thereunder.

           (i)     “Expense Advance” means any payment of Expenses advanced to
     Indemnitee by the Company pursuant to Section 4 or Section 5 hereof.

             (j)    “Indemnifiable Event” means any event or occurrence, whether occurring
     before, on or after the date of this Agreement, related to the fact that Indemnitee is or was
     a manager, director, officer, employee or agent of the Company or any subsidiary of the
     Company, or is or was serving at the request of the Company or any subsidiary of the
     Company as a manager, director, officer, employee, member, manager, trustee or agent of
     any other Enterprise or by reason of an action or inaction by Indemnitee in any such
     capacity (whether or not serving in such capacity at the time any Loss is incurred for which
     indemnification can be provided under this Agreement).

             (k)     “Independent Counsel” means a law firm, or a member of a law firm, that
     is experienced in matters of corporation law and neither presently performs, nor in the past
     three (3) years has performed, services for any of: (i) James Dondero, (ii) the Company or
     Indemnitee (other than in connection with matters concerning Indemnitee under this
     Agreement or of other indemnitees under similar agreements), or (iii) any other party to
     the Claim giving rise to a claim for indemnification hereunder. Notwithstanding the
     foregoing, the term “Independent Counsel” shall not include any Person who, under the
     applicable standards of professional conduct then prevailing, would have a conflict of
     interest in representing either the Company or Indemnitee in an action to determine
     Indemnitee’s rights under this Agreement.

           (l)     “Losses” means any and all Expenses, damages, losses, liabilities,
     judgments, fines (including excise taxes and penalties assessed with respect to employee




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     benefit plans and ERISA excise taxes), penalties (whether civil, criminal or other), amounts
     paid or payable in settlement, including any interest, assessments, any federal, state, local
     or foreign taxes imposed as a result of the actual or deemed receipt of any payments under
     this Agreement and all other charges paid or payable in connection with investigating,
     defending, being a witness in or participating in (including on appeal), or preparing to
     defend, be a witness or participate in, any Claim.

            (m)     “Person” means any individual, corporation, firm, partnership, joint
     venture, limited liability company, estate, trust, business association, organization,
     governmental entity or other entity and includes the meaning set forth in Sections 13(d)
     and 14(d) of the Exchange Act.

            (n)     “Shares” means an ownership interest of a member in the Company,
     including each of the common shares of the Company or any other class or series of Shares
     designated by the Board.

             (o)     References to “serving at the request of the Company” include any
     service as a director, manager, officer, employee, representative or agent of the Company
     which imposes duties on, or involves services by, such director, manager, officer, employee
     or agent, including but not limited to any employee benefit plan, its participants or
     beneficiaries; and a Person who acted in good faith and in a manner he or she reasonably
     believed to be in and not opposed to the best interests of the Company in Indemnitee’s
     capacity as a director, manager, officer, employee, representative or agent of the Company,
     including but not limited to acting in the best interest of participants and beneficiaries of
     an employee benefit plan will be deemed to have acted in a manner “not opposed to the
     best interests of the Company” as referred to under applicable law or in this Agreement.

     2.     Indemnification.

              (a)     Subject to Section 9 and Section 10 of this Agreement, the Company shall
     indemnify and hold Indemnitee harmless, to the fullest extent permitted by the laws of the
     State of Delaware in effect on the date hereof, or as such laws may from time to time
     hereafter be amended to increase the scope of such permitted indemnification, against any
     and all Losses and Expenses if Indemnitee was or is or becomes a party to or participant
     in, or is threatened to be made a party to or participant in, any Claim by reason of or arising
     in part out of an Indemnifiable Event, including, without limitation, Claims brought by or
     in the right of the Company, Claims brought by third parties, and Claims in which the
     Indemnitee is solely a witness.

             (b)      For the avoidance of doubt, the indemnification rights and obligations
     contained herein shall also extend to any Claim in which the Indemnitee was or is a party
     to, was or is threatened to be made a party to or was or is otherwise involved in any capacity
     in by reason of Indemnitee’s Corporate Status as a fiduciary capacity with respect to an
     employee benefit plan. In connection therewith, if the Indemnitee has acted in good faith
     and in a manner which appeared to be consistent with the best interests of the participants
     and beneficiaries of an employee benefit plan and not opposed thereto, the Indemnitee shall
     be deemed to have acted in a manner not opposed to the best interests of the Company.




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     3.     Contribution.

             (a)     Whether or not the indemnification provided in Section 2 is available, if, for
     any reason, Indemnitee shall elect or be required to pay all or any portion of any judgment
     or settlement in any Claim in which the Company is jointly liable with Indemnitee (or
     would be if joined in such Claim), the Company shall contribute to the amount of Losses
     paid or payable by Indemnitee in proportion to the relative benefits received by the
     Company and all officers, directors, managers or employees of the Company, other than
     Indemnitee, who are jointly liable with Indemnitee (or would be if joined in such Claim),
     on the one hand, and Indemnitee, on the other hand, from the transaction or events from
     which such Claim arose; provided, however, that the proportion determined on the basis of
     relative benefit may, to the extent necessary to conform to law, be further adjusted by
     reference to the relative fault of the Company and all officers, directors, managers or
     employees of the Company other than Indemnitee who are jointly liable with Indemnitee
     (or would be if joined in such Claim), on the one hand, and Indemnitee, on the other hand,
     in connection with the transaction or events that resulted in such Losses, as well as any
     other equitable considerations which applicable law may require to be considered. The
     relative fault of the Company and all officers, directors, managers or employees of the
     Company, other than Indemnitee, who are jointly liable with Indemnitee (or would be if
     joined in such Claim), on the one hand, and Indemnitee, on the other hand, shall be
     determined by reference to, among other things, the degree to which their actions were
     motivated by intent to gain personal profit or advantage, the degree to which their liability
     is primary or secondary and the degree to which their conduct is active or passive.

            (b)    The Company hereby agrees to fully indemnify and hold Indemnitee
     harmless from any claims of contribution which may be brought by officers, directors,
     managers or employees of the Company, other than Indemnitee, who may be jointly liable
     with Indemnitee.

              (c)    To the fullest extent permissible under applicable law, if the indemnification
     provided for in this Agreement is unavailable to Indemnitee for any reason whatsoever, the
     Company, in lieu of indemnifying Indemnitee, shall contribute to the amount incurred by
     Indemnitee, whether for judgments, fines, penalties, excise taxes, amounts paid or to be
     paid in settlement and/or for Expenses, in connection with any Claim relating to an
     Indemnifiable Event under this Agreement, in such proportion as is deemed fair and
     reasonable in light of all of the circumstances of such Claim in order to reflect (i) the
     relative benefits received by the Company and Indemnitee as a result of the event(s) and/or
     transaction(s) giving cause to such Claim; and/or (ii) the relative fault of the Company (and
     its directors, managers, officers, employees and agents) and Indemnitee in connection with
     such event(s) and/or transaction(s).

     4.      Advancement of Expenses. The Company shall, if requested by Indemnitee,
     advance, to the fullest extent permitted by law, to Indemnitee (an “Expense Advance”)
     any and all Expenses actually and reasonably paid or incurred (even if unpaid) by
     Indemnitee in connection with any Claim arising out of an Indemnifiable Event (whether
     prior to or after its final disposition). Indemnitee’s right to such advancement is not subject
     to the satisfaction of any standard of conduct. Without limiting the generality or effect of



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     the foregoing, within thirty (30) business days after any request by Indemnitee, the
     Company shall, in accordance with such request, (a) pay such Expenses on behalf of
     Indemnitee, (b) advance to Indemnitee funds in an amount sufficient to pay such Expenses,
     or (c) reimburse Indemnitee for such Expenses. In connection with any request for Expense
     Advances, Indemnitee shall not be required to provide any documentation or information
     to the extent that the provision thereof would undermine or otherwise jeopardize attorney-
     client privilege. Execution and delivery to the Company of this Agreement by Indemnitee
     constitutes an undertaking by the Indemnitee to repay any amounts paid, advanced or
     reimbursed by the Company pursuant to this Section 4, the final sentence of Section 9(b),
     or Section 11(b) in respect of Expenses relating to, arising out of or resulting from any
     Claim in respect of which it shall be determined, pursuant to Section 9, following the final
     disposition of such Claim, that Indemnitee is not entitled to indemnification hereunder. No
     other form of undertaking shall be required other than the execution of this Agreement.
     Each Expense Advance will be unsecured and interest free and will be made by the
     Company without regard to Indemnitee’s ability to repay the Expense Advance.

     5.      Indemnification for Expenses in Enforcing Rights. To the fullest extent allowable
     under applicable law, the Company shall also indemnify against, and, if requested by
     Indemnitee, shall advance to Indemnitee subject to and in accordance with Section 4, any
     Expenses actually and reasonably paid or incurred (even if unpaid) by Indemnitee in
     connection with any action or proceeding by Indemnitee for (a) indemnification or
     reimbursement or advance payment of Expenses by the Company under any provision of
     this Agreement, or under any other agreement or provision of the Bylaws now or hereafter
     in effect relating to Claims relating to Indemnifiable Events, and/or (b) recovery under any
     D&O Insurance maintained by the Company, regardless of whether Indemnitee ultimately
     is determined to be entitled to such indemnification or insurance recovery, as the case may
     be. Indemnitee shall be required to reimburse the Company in the event that a final judicial
     determination is made that such action brought by Indemnitee was frivolous or not made
     in good faith.

     6.     Partial Indemnity. If Indemnitee is entitled under any provision of this Agreement
     to indemnification by the Company for a portion of any Losses in respect of a Claim related
     to an Indemnifiable Event but not for the total amount thereof, the Company shall
     nevertheless indemnify Indemnitee for the portion thereof to which Indemnitee is entitled.

     7.     Notification and Defense of Claims.

             (a)     Notification of Claims. Indemnitee shall notify the Company in writing as
     soon as reasonably practicable of any Claim which could relate to an Indemnifiable Event
     or for which Indemnitee could seek Expense Advances, including a brief description (based
     upon information then available to Indemnitee) of the nature of, and the facts underlying,
     such Claim, to the extent then known. The failure by Indemnitee to timely notify the
     Company hereunder shall not relieve the Company from any liability hereunder except to
     the extent the Company’s ability to participate in the defense of such claim was materially
     and adversely affected by such failure. If at the time of the receipt of such notice, the
     Company has D&O Insurance or any other insurance in effect under which coverage for
     Claims related to Indemnifiable Events is potentially available, the Company shall give



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     prompt written notice to the applicable insurers in accordance with the procedures,
     provisions, and terms set forth in the applicable policies. The Company shall provide to
     Indemnitee a copy of such notice delivered to the applicable insurers, and copies of all
     subsequent correspondence between the Company and such insurers regarding the Claim,
     in each case substantially concurrently with the delivery or receipt thereof by the Company.

             (b)    Defense of Claims. The Company shall be entitled to participate in the
     defense of any Claim relating to an Indemnifiable Event at its own expense and, except as
     otherwise provided below, to the extent the Company so wishes, it may assume the defense
     thereof with counsel reasonably satisfactory to Indemnitee. After notice from the Company
     to Indemnitee of its election to assume the defense of any such Claim, the Company shall
     not be liable to Indemnitee under this Agreement or otherwise for any Expenses
     subsequently directly incurred by Indemnitee in connection with Indemnitee’s defense of
     such Claim other than reasonable costs of investigation or as otherwise provided below.
     Indemnitee shall have the right to employ its own legal counsel in such Claim, but all
     Expenses related to such counsel incurred after notice from the Company of its assumption
     of the defense shall be at Indemnitee’s own expense; provided, however, that if (i)
     Indemnitee’s employment of its own legal counsel has been authorized by the Company,
     (ii) Indemnitee has reasonably determined that there may be a conflict of interest between
     Indemnitee and the Company in the defense of such Claim, (iii) after a Change in Control,
     Indemnitee’s employment of its own counsel has been approved by the Independent
     Counsel or (iv) the Company shall not in fact have employed counsel to assume the defense
     of such Claim, then Indemnitee shall be entitled to retain its own separate counsel (but not
     more than one law firm plus, if applicable, local counsel in respect of any such Claim) and
     all Expenses related to such separate counsel shall be borne by the Company.

     8.      Procedure upon Application for Indemnification. In order to obtain indemnification
     pursuant to this Agreement, Indemnitee shall submit to the Company a written request
     therefor, including in such request such documentation and information as is reasonably
     available to Indemnitee and is reasonably necessary to determine whether and to what
     extent Indemnitee is entitled to indemnification following the final disposition of the
     Claim, provided that documentation and information need not be so provided to the extent
     that the provision thereof would undermine or otherwise jeopardize attorney-client
     privilege. Indemnification shall be made insofar as the Company determines Indemnitee is
     entitled to indemnification in accordance with Section 9 below.

     9.     Determination of Right to Indemnification.

            (a)     Mandatory Indemnification; Indemnification as a Witness.

                    (i)     To the extent that Indemnitee shall have been successful on the
     merits or otherwise in defense of any Claim relating to an Indemnifiable Event or any
     portion thereof or in defense of any issue or matter therein, including without limitation
     dismissal without prejudice, Indemnitee shall be indemnified against all Losses relating to
     such Claim in accordance with Section 2, and no Standard of Conduct Determination (as
     defined in Section 9(b)) shall be required.




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                     (ii)    To the extent that Indemnitee’s involvement in a Claim relating to
     an Indemnifiable Event is to prepare to serve and serve as a witness, and not as a party, the
     Indemnitee shall be indemnified against all Losses incurred in connection therewith to the
     fullest extent allowable by law and no Standard of Conduct Determination (as defined in
     Section 9(b)) shall be required.

            (b)     Standard of Conduct. To the extent that the provisions of Section 9(a) are
     inapplicable to a Claim related to an Indemnifiable Event that shall have been finally
     disposed of, any determination of whether Indemnitee has satisfied any applicable standard
     of conduct under Delaware law that is a legally required condition to indemnification of
     Indemnitee hereunder against Losses relating to such Claim and any determination that
     Expense Advances must be repaid to the Company (a “Standard of Conduct
     Determination”) shall be made as follows:

                    (i)    if no Change in Control has occurred, (A) by a majority vote of the
     Disinterested Directors, even if less than a quorum of the Board, (B) by a committee of
     Disinterested Directors designated by a majority vote of the Disinterested Directors, even
     though less than a quorum or (C) if there are no such Disinterested Directors, by
     Independent Counsel in a written opinion addressed to the Board, a copy of which shall be
     delivered to Indemnitee; and

                    (ii)    if a Change in Control shall have occurred, (A) if the Indemnitee so
     requests in writing, by a majority vote of the Disinterested Directors, even if less than a
     quorum of the Board or (B) otherwise, by Independent Counsel in a written opinion
     addressed to the Board, a copy of which shall be delivered to Indemnitee.

     Subject to Section 4, the Company shall indemnify and hold Indemnitee harmless against
     and, if requested by Indemnitee, shall reimburse Indemnitee for, or advance to Indemnitee,
     within thirty (30) business days of such request, any and all Expenses incurred by
     Indemnitee in cooperating with the Person or Persons making such Standard of Conduct
     Determination.

             (c)     Making the Standard of Conduct Determination. The Company shall use its
     reasonable best efforts to cause any Standard of Conduct Determination required under
     Section 9(b) to be made as promptly as practicable. If the Person or Persons designated to
     make the Standard of Conduct Determination under Section 9(b) shall not have made a
     determination within ninety (90) days after the later of (A) receipt by the Company of a
     written request from Indemnitee for indemnification pursuant to Section 8 (the date of such
     receipt being the “Notification Date”) and (B) the selection of an Independent Counsel, if
     such determination is to be made by Independent Counsel, then Indemnitee shall be deemed
     to have satisfied the applicable standard of conduct; provided that such 90-day period may
     be extended for a reasonable time, not to exceed an additional thirty (30) days, if the Person
     or Persons making such determination in good faith requires such additional time to obtain
     or evaluate information relating thereto. Notwithstanding anything in this Agreement to the
     contrary, no determination as to entitlement of Indemnitee to indemnification under this
     Agreement shall be required to be made prior to the final disposition of any Claim.




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             (d)    Payment of Indemnification. If, in regard to any Losses:

                    (i)     Indemnitee shall be entitled to indemnification pursuant to Section
     9(a);

                    (ii)   no Standard of Conduct Determination is legally required as a
     condition to indemnification of Indemnitee hereunder; or

                    (iii)   Indemnitee has been determined or deemed pursuant to Section 9(b)
     or Section 9(c) to have satisfied the Standard of Conduct Determination,

     then the Company shall pay to Indemnitee, within thirty (30) business days after the later
     of (A) the Notification Date or (B) the earliest date on which the applicable criterion
     specified in clause (i), (ii) or (iii) is satisfied, an amount equal to such Losses.

              (e)     Selection of Independent Counsel for Standard of Conduct Determination.
     If a Standard of Conduct Determination is to be made by Independent Counsel pursuant to
     Section 9(b)(i), the Independent Counsel shall be selected by the Board and the Company
     shall give written notice to Indemnitee advising him of the identity of the Independent
     Counsel so selected. If a Standard of Conduct Determination is to be made by Independent
     Counsel pursuant to Section 9(b)(ii), the Independent Counsel shall be selected by
     Indemnitee, and Indemnitee shall give written notice to the Company advising it of the
     identity of the Independent Counsel so selected. In either case, Indemnitee or the Company,
     as applicable, may, within thirty (3) business days after receiving written notice of selection
     from the other, deliver to the other a written objection to such selection; provided, however,
     that such objection may be asserted only on the ground that the Independent Counsel so
     selected does not satisfy the criteria set forth in the definition of “Independent Counsel” in
     Section 1(k), and the objection shall set forth with particularity the factual basis of such
     assertion. Absent a proper and timely objection, the Person or firm so selected shall act as
     Independent Counsel. If such written objection is properly and timely made and
     substantiated, (i) the Independent Counsel so selected may not serve as Independent
     Counsel unless and until such objection is withdrawn or a court has determined that such
     objection is without merit; and (ii) the non-objecting party may, at its option, select an
     alternative Independent Counsel and give written notice to the other party advising such
     other party of the identity of the alternative Independent Counsel so selected, in which case
     the provisions of the two immediately preceding sentences, the introductory clause of this
     sentence and numbered clause (i) of this sentence shall apply to such subsequent selection
     and notice. If applicable, the provisions of clause (ii) of the immediately preceding sentence
     shall apply to successive alternative selections. If no Independent Counsel that is permitted
     under the foregoing provisions of this Section 9(e) to make the Standard of Conduct
     Determination shall have been selected within twenty (20) days after the Company gives
     its initial notice pursuant to the first sentence of this Section 9(e) or Indemnitee gives its
     initial notice pursuant to the second sentence of this Section 9(e), as the case may be, either
     the Company or Indemnitee may petition the Court of Chancery of the State of Delaware
     (“Delaware Court”) to resolve any objection which shall have been made by the Company
     or Indemnitee to the other’s selection of Independent Counsel and/or to appoint as
     Independent Counsel a Person to be selected by the Court or such other Person as the Court



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     shall designate, and the Person or firm with respect to whom all objections are so resolved
     or the Person or firm so appointed will act as Independent Counsel. In all events, the
     Company shall pay all of the reasonable fees and expenses of the Independent Counsel
     incurred in connection with the Independent Counsel’s determination pursuant to Section
     9(b).

            (f)     Presumptions and Defenses.

                    (i)     Indemnitee’s Entitlement to Indemnification. In making any
     Standard of Conduct Determination, the Person or Persons making such determination shall
     presume that Indemnitee has satisfied the applicable standard of conduct and is entitled to
     indemnification, and the Company shall have the burden of proof to overcome that
     presumption and establish that Indemnitee is not so entitled. Any Standard of Conduct
     Determination that is adverse to Indemnitee may be challenged by the Indemnitee in the
     Delaware Court. No determination by the Company (including by its Board or any
     Independent Counsel) that Indemnitee has not satisfied any applicable standard of conduct
     may be used as a defense to enforcement by Indemnitee of Indemnitee’s rights of
     indemnification or reimbursement or advance of payment of Expenses by the Company
     hereunder or create a presumption that Indemnitee has not met any applicable standard of
     conduct.

                     (ii)    Reliance as a Safe Harbor. For purposes of this Agreement, and
     without creating any presumption as to a lack of good faith if the following circumstances
     do not exist, Indemnitee shall be deemed to have acted in good faith and in a manner he or
     she reasonably believed to be in or not opposed to the best interests of the Company if
     Indemnitee’s actions or omissions to act are taken in good faith reliance upon the records
     of the Company, including its financial statements, or upon information, opinions, reports
     or statements furnished to Indemnitee by the officers or employees of the Company or any
     of its subsidiaries in the course of their duties, or by committees of the Board or by any
     other Person (including legal counsel, accountants and financial advisors) as to matters
     Indemnitee reasonably believes are within such other Person’s professional or expert
     competence and who has been selected with reasonable care by or on behalf of the
     Company. In addition, the knowledge and/or actions, or failures to act, of any director,
     manager, officer, agent or employee of the Company (other than Indemnitee) shall not be
     imputed to Indemnitee for purposes of determining the right to indemnity hereunder.

                    (iii)     Defense to Indemnification and Burden of Proof. It shall be a
     defense to any action brought by Indemnitee against the Company to enforce this
     Agreement (other than an action brought to enforce a claim for Losses incurred in
     defending against a Claim related to an Indemnifiable Event in advance of its final
     disposition) that it is not permissible under applicable law for the Company to indemnify
     Indemnitee for the amount claimed. In connection with any such action or any related
     Standard of Conduct Determination, the burden of proving such a defense or that the
     Indemnitee did not satisfy the applicable standard of conduct shall be on the Company.

     10.    Exclusions from Indemnification. Notwithstanding anything in this Agreement to
     the contrary, the Company shall not be obligated to:



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            (a)     indemnify or advance funds to Indemnitee for Losses with respect to
     proceedings initiated by Indemnitee, including any proceedings against the Company or its
     managers, officers, employees or other indemnitees and not by way of defense, except:

                    (i)    proceedings referenced in Section 4 above (unless a court of
     competent jurisdiction determines that each of the material assertions made by Indemnitee
     in such proceeding was not made in good faith or was frivolous); or

                     (ii)   where the Company has joined in or the Board has consented to the
     initiation of such proceedings.

            (b)     indemnify Indemnitee if a final decision by a court of competent jurisdiction
     determines that such indemnification is prohibited by applicable law.

             (c)    indemnify Indemnitee for the disgorgement of profits arising from the
     purchase or sale by Indemnitee of securities of the Company in violation of Section 16(b)
     of the Exchange Act, or any similar successor statute.

     11.    Remedies of Indemnitee.

             (a)     In the event that (i) a determination is made pursuant to Section 9 that
     Indemnitee is not entitled to indemnification under this Agreement, (ii) an Expense
     Advance is not timely made pursuant to Section 4, (iii) no determination of entitlement to
     indemnification is made pursuant to Section 9 within 90 days after receipt by the Company
     of the request for indemnification, or (iv) payment of indemnification is not made pursuant
     Section 9(d), Indemnitee shall be entitled to an adjudication in a Delaware Court, or in any
     other court of competent jurisdiction, of Indemnitee’s entitlement to such indemnification.
     Indemnitee shall commence such proceeding seeking an adjudication within 180 days
     following the date on which Indemnitee first has the right to commence such proceeding
     pursuant to this Section 11(a). The Company shall not oppose Indemnitee’s right to seek
     any such adjudication.

             (b)     In the event that Indemnitee, pursuant to this Section 11, seeks a judicial
     adjudication or arbitration of his or her rights under, or to recover damages for breach of,
     this Agreement, any other agreement for indemnification, payment of Expenses in advance
     or contribution hereunder or to recover under any director, manager, and officer liability
     insurance policies or any other insurance policies maintained by the Company, the
     Company will, to the fullest extent permitted by law and subject to Section 4, indemnify
     and hold harmless Indemnitee against any and all Expenses which are paid or incurred by
     Indemnitee in connection with such judicial adjudication or arbitration, regardless of
     whether Indemnitee ultimately is determined to be entitled to such indemnification,
     payment of Expenses in advance or contribution or insurance recovery. In addition, if
     requested by Indemnitee, subject to Section 4 the Company will (within thirty (30) days
     after receipt by the Company of the written request therefor), pay as an Expense Advance
     such Expenses, to the fullest extent permitted by law.

             (c)   In the event that a determination shall have been made pursuant to Section
     9 that Indemnitee is not entitled to indemnification, any judicial proceeding commenced



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     pursuant to this Section 11 shall be conducted in all respects as a de novo trial on the merits,
     and Indemnitee shall not be prejudiced by reason of the adverse determination under
     Section 9.

            (d)     If a determination shall have been made pursuant to Section 9 that
     Indemnitee is entitled to indemnification, the Company shall be bound by such
     determination in any judicial proceeding commenced pursuant to this Section 11, absent
     (i) a misstatement by Indemnitee of a material fact, or an omission of a material fact
     necessary to make Indemnitee’s misstatement not materially misleading in connection with
     the application for indemnification, or (ii) a prohibition of such indemnification under
     applicable law.

     12.     Settlement of Claims. The Company shall not be liable to Indemnitee under this
     Agreement for any amounts paid in settlement of any threatened or pending Claim related
     to an Indemnifiable Event effected without the Company’s prior written consent, which
     shall not be unreasonably withheld; provided, however, that if a Change in Control has
     occurred, the Company shall be liable for indemnification of the Indemnitee for amounts
     paid in settlement if an Independent Counsel (which, for purposes of this Section 12, shall
     be selected by the Company with the prior consent of the Indemnitee, such consent not to
     be unreasonably withheld or delayed) has approved the settlement. The Company shall not
     settle any Claim related to an Indemnifiable Event in any manner that would impose any
     Losses on the Indemnitee without the Indemnitee’s prior written consent.

     13.      Duration. All agreements and obligations of the Company contained herein shall
     continue during the period that Indemnitee is a manager of the Company (or is serving at
     the request of the Company as a director, manager, officer, employee, member, trustee or
     agent of another Enterprise) and shall continue thereafter (i) so long as Indemnitee may be
     subject to any possible Claim relating to an Indemnifiable Event (including any rights of
     appeal thereto) and (ii) throughout the pendency of any proceeding (including any rights
     of appeal thereto) commenced by Indemnitee to enforce or interpret his or her rights under
     this Agreement, even if, in either case, he or she may have ceased to serve in such capacity
     at the time of any such Claim or proceeding.

     14.      Other Indemnitors. The Company hereby acknowledges that Indemnitee may have
     certain rights to indemnification, advancement of Expenses and/or insurance provided by
     certain private equity funds, hedge funds or other investment vehicles or management
     companies and/or certain of their affiliates and by personal policies (collectively, the
     “Other Indemnitors”). The Company hereby agrees (i) that it is the indemnitor of first
     resort (i.e., its obligations to Indemnitee are primary and any obligation of the Other
     Indemnitors to advance Expenses or to provide indemnification for the same Expenses or
     liabilities incurred by Indemnitee are secondary), (ii) that it shall be required to advance
     the full amount of Expenses incurred by Indemnitee and shall be liable for the full amount
     of all Expenses, judgments, penalties, fines and amounts paid in settlement to the extent
     legally permitted and as required by the terms of this Agreement and the Bylaws (or any
     other agreement between the Company and Indemnitee), without regard to any rights
     Indemnitee may have against the Other Indemnitors, and, (iii) that it irrevocably waives,
     relinquishes and releases the Other Indemnitors from any and all claims against the Other



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     Indemnitors for contribution, subrogation or any other recovery of any kind in respect
     thereof. The Company further agrees that no advancement or payment by the Other
     Indemnitors on behalf of Indemnitee with respect to any claim for which Indemnitee has
     sought indemnification from the Company shall affect the foregoing and the Other
     Indemnitors shall have a right of contribution and/or be subrogated to the extent of such
     advancement or payment to all of the rights of recovery of Indemnitee against the
     Company. The Company and Indemnitee agree that the Other Indemnitors are express third
     party beneficiaries of the terms of this Section 14.

     15.     Non-Exclusivity. The rights of Indemnitee hereunder will be in addition to any
     other rights Indemnitee may have under the Bylaws, the General Corporation Law of the
     State of Delaware (as may be amended from time to time, the “DGCL”), any other contract,
     in law or in equity, and under the laws of any state, territory, or jurisdiction, or otherwise
     (collectively, “Other Indemnity Provisions”). The Company will not adopt any
     amendment to its Bylaws the effect of which would be to deny, diminish, encumber or limit
     Indemnitee’s right to indemnification under this Agreement or any Other Indemnity
     Provision.

     16.     Liability Insurance. For the duration of Indemnitee’s service as a director of the
     Company, and thereafter for so long as Indemnitee shall be subject to any pending Claim
     relating to an Indemnifiable Event, the Company shall use best efforts to continue to
     maintain in effect policies of D&O Insurance providing coverage that is at least
     substantially comparable in scope and amount to that provided by similarly situated
     companies. In all policies of D&O Insurance maintained by the Company, Indemnitee shall
     be named as an insured in such a manner as to provide Indemnitee the same rights and
     benefits as are provided to the most favorably insured of the Company’s directors. Upon
     request, the Company will provide to Indemnitee copies of all D&O Insurance applications,
     binders, policies, declarations, endorsements and other related materials.

     17.   No Duplication of Payments. The Company shall not be liable under this
     Agreement to make any payment to Indemnitee in respect of any Losses to the extent
     Indemnitee has otherwise received payment under any insurance policy, any Other
     Indemnity Provisions or otherwise of the amounts otherwise indemnifiable by the
     Company hereunder.

     18.    Subrogation. In the event of payment to Indemnitee under this Agreement, the
     Company shall be subrogated to the extent of such payment to all of the rights of recovery
     of Indemnitee. Indemnitee shall execute all papers required and shall do everything that
     may be necessary to secure such rights, including the execution of such documents
     necessary to enable the Company effectively to bring suit to enforce such rights.

     19.    Indemnitee Consent. The Company will not, without the prior written consent of
     Indemnitee, consent to the entry of any judgment against Indemnitee or enter into any
     settlement or compromise which (a) includes an admission of fault of Indemnitee, any non-
     monetary remedy imposed on Indemnitee or a Loss for which Indemnitee is not wholly
     indemnified hereunder or (b) with respect to any Claim with respect to which Indemnitee
     may be or is made a party or a participant or may be or is otherwise entitled to seek



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     indemnification hereunder, does not include, as an unconditional term thereof, the full
     release of Indemnitee from all liability in respect of such Claim, which release will be in
     form and substance reasonably satisfactory to Indemnitee. Neither the Company nor
     Indemnitee will unreasonably withhold its consent to any proposed settlement; provided,
     however, Indemnitee may withhold consent to any settlement that does not provide a full
     and unconditional release of Indemnitee from all liability in respect of such Claim.

     20.     Amendments. No supplement, modification or amendment of this Agreement shall
     be binding unless executed in writing by both of the parties hereto. No waiver of any of the
     provisions of this Agreement shall be binding unless in the form of a writing signed by the
     party against whom enforcement of the waiver is sought, and no such waiver shall operate
     as a waiver of any other provisions hereof (whether or not similar), nor shall such waiver
     constitute a continuing waiver. Except as specifically provided herein, no failure to exercise
     or any delay in exercising any right or remedy hereunder shall constitute a waiver thereof.

     21.     Binding Effect. This Agreement shall be binding upon and inure to the benefit of
     and be enforceable by the parties hereto and their respective successors (including any
     direct or indirect successor by purchase, merger, consolidation or otherwise to all or
     substantially all of the business and/or assets of the Company), assigns, spouses, heirs and
     personal and legal representatives. The Company shall require and cause any successor
     (whether direct or indirect by purchase, merger, consolidation or otherwise) to all,
     substantially all or a substantial part of the business and/or assets of the Company, by
     written agreement in form and substance satisfactory to Indemnitee, expressly to assume
     and agree to perform this Agreement in the same manner and to the same extent that the
     Company would be required to perform if no such succession had taken place.

     22.     Severability. Each provision of this Agreement shall be considered severable and if
     for any reason any provision which is not essential to the effectuation of the basic purposes
     of this Agreement is determined by a court of competent jurisdiction to be invalid,
     unenforceable or contrary to the DGCL or existing or future applicable law, such invalidity,
     unenforceability or illegality shall not impair the operation of or affect those provisions of
     this Agreement which are valid, enforceable and legal. In that case, this Agreement shall
     be construed so as to limit any term or provision so as to make it valid, enforceable and
     legal within the requirements of any applicable law, and in the event such term or provision
     cannot be so limited, this Agreement shall be construed to omit such invalid, unenforceable
     or illegal provisions.

     23.     Notices. All notices, requests, demands and other communications hereunder shall
     be in writing and shall be deemed to have been duly given if delivered by hand, against
     receipt, or mailed, by postage prepaid, certified or registered mail:

            (a)     if to Indemnitee, to the address set forth on the signature page hereto.

            (b)     if to the Company, to:

                    Strand Advisors, Inc.
                    Attention:    Isaac Leventon



                                                  14                                       App. 0280
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                    Address:        300 Crescent Court, Suite 700
                                    Dallas, Texas 75201
                    Email:            ileventon@highlandcapital.com

                    Notice of change of address shall be effective only when given in
     accordance with this Section 23. All notices complying with this Section 23 shall be
     deemed to have been received on the date of hand delivery or on the third business day
     after mailing.

     24.  Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY THE LAWS
     OF THE STATE OF DELAWARE (OTHER THAN ITS RULES OF CONFLICTS OF
     LAW TO THE EXTENT THAT THE APPLICATION OF THE LAWS OF ANOTHER
     JURISDICTION WOULD BE REQUIRED THEREBY).

     25.     Jurisdiction. The parties hereby agree that any suit, action or proceeding seeking to
     enforce any provision of, or based on any matter arising out of or in connection with, this
     Agreement or the transactions contemplated hereby, whether in contract, tort or otherwise,
     shall be brought in the United States District Court for the District of Delaware or in the
     Court of Chancery of the State of Delaware (or, if such court lacks subject matter
     jurisdiction, in the Superior Court of the State of Delaware), so long as one of such courts
     shall have subject-matter jurisdiction over such suit, action or proceeding, and that any case
     of action arising out of this Agreement shall be deemed to have arisen from a transaction
     of business in the State of Delaware. Each of the parties hereby irrevocably consents to the
     jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any such
     suit, action or proceeding and irrevocably waives, to the fullest extent permitted by law,
     any objection that it may now or hereafter have to the laying of the venue of any such suit,
     action or proceeding in any such court or that any such suit, action or proceeding which is
     brought in any such court has been brought in an inconvenient forum.

     26.    Enforcement.

             (a)    Without limiting Section 15, this Agreement constitutes the entire
     agreement between the parties hereto with respect to the subject matter hereof and
     supersedes all prior agreements and understandings, oral, written and implied, between the
     parties hereto with respect to the subject matter hereof.

           (b)    The Company shall not seek from a court, or agree to, a "bar order" which
     would have the effect of prohibiting or limiting the Indemnitee’s rights to receive
     advancement of Expenses under this Agreement other than in accordance with this
     Agreement.

     27.     Headings and Captions. All headings and captions contained in this Agreement and
     the table of contents hereto are inserted for convenience only and shall not be deemed a
     part of this Agreement.

     28.     Counterparts. This Agreement may be executed in counterparts, each of which shall
     constitute an original and all of which, when taken together, shall constitute one and the



                                                  15                                       App. 0281
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     same agreement. Facsimile counterpart signatures to this Agreement shall be binding and
     enforceable.




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          IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
  date first above written.


                                                 STRAND ADVISORS, INC.



                                                 By:
                                                 Name:
                                                 Title:




                              [SIGNATURE PAGE – INDEMNIFICATION AGREEMENT]

  DOCS_LA:316796.3                                                               App. 0283
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                                                 INDEMNITEE:




                                                 Name: [_____]
                                                 Address:


                                                 Email:




                              [SIGNATURE PAGE – INDEMNIFICATION AGREEMENT]

  DOCS_LA:316796.3                                                           App. 0284
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  December ___, 2019

  Attn: Independent Directors
  Highland Capital Management, LP
  300 Crescent Court, Ste. 700
  Dallas, TX 75201

          Re:      Development Specialists, Inc. (“DSI”)
                   Retention and Letter of Engagement

  Dear Members of the Board:

  Please accept this letter as our firm’s formal written agreement (the “Agreement”) to provide
  restructuring support services to Highland Capital Management, L.P. (the “Company”). This
  Agreement replaces and supersedes in all respects the letter agreement between DSI and the
  Company, dated October 7, 2019, as amended and revised by the letter agreement dated October
  29, 2019. However, all fees and expenses incurred by DSI prior to the date hereof in accordance
  with such prior letter agreements will be paid by the Company, subject to allowance of such fees
  and expenses by the U.S. Bankruptcy Court for the Northern District of Texas (the “Bankruptcy
  Court”). The Agreement will become effective upon execution by duly authorized
  representatives of the respective parties and approval of the Bankruptcy Court.

  Section 1 – Scope of Work

  DSI will provide the following services (the “Services”) to the Company:

      1. Bradley D. Sharp will act as the Company’s Chief Restructuring Officer (“CRO”) with
         other DSI personnel to assist Mr. Sharp in carrying out those duties and responsibilities.
      2. Subject to the terms of this Agreement, as CRO, Mr. Sharp will assume control of the
         Company’s restructuring and direct the Company with respect to its bankruptcy filed on
         October 16, 2019 (the “Chapter 11 Case”), which Chapter 11 Case has now been
         transferred to the Bankruptcy Court.
      3. Subject to the terms of this Agreement, Mr. Sharp will report to the Independent
         Directors and, if appointed, the Chief Executive Officer of the Company (“CEO”) and
         will comply with the Company’s corporate governance requirements.
      4. As directed by the Independent Directors and/or CEO, the CRO will be responsible for
         the implementation and prosecution of the Chapter 11 Case, including negotiations with
         creditors, reconciliation of claims, and confirmation of a plan or plans of reorganization.
      5. Provide other personnel of DSI (“Additional Personnel”) to provide restructuring support
         services as requested or required to the Company, which may include but are not limited
         to:




                                                                                          App. 0285 B
                                                                                          Exhibit
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               a. assisting the Company in the preparation of financial disclosures required by the
                  Bankruptcy Code, including the Schedules of Assets and Liabilities, the
                  Statements of Financial Affairs and Monthly Operating Reports;
               b. advising and assisting the Company, the Company’s legal counsel, and other
                  professionals in responding to third party requests;
               c. attending meetings and assisting in communications with parties in interest and
                  their professionals, including the Official Committee of Unsecured Creditors
                  appointed in the Chapter 11 Case;
               d. providing litigation advisory services with respect to accounting matters, along
                  with expert witness testimony on case related issues; and
               e. rendering such other general business consulting services or other assistance as
                  the Company may deem necessary and which are consistent with the role of a
                  financial advisor and not duplicative of services provided by other professionals
                  in this case.

  DSI’s ability to adequately perform the Services is dependent upon the Company timely
  providing reliable, accurate, and complete necessary information. The Company agrees that
  CRO will have (i) access to and the ability to communicate with any employee of the Company
  or any affiliate of the Company and (ii) access to any information, including documents, relating
  to the Company or any Company affiliate, including, but not limited to, information concerning
  collections and disbursements. The Company acknowledges that DSI or CRO are not
  responsible for independently verifying the veracity, completeness, or accuracy of any
  information supplied to us by or on behalf of the Company.

  DSI will submit its evaluations and analyses pursuant to this Agreement in periodic oral and
  written reports. Such reports are intended to and shall constitute privileged and confidential
  information, and shall constitute the Company’s property.

  Although we do not predict or warrant the outcome of any particular matter or issue, and our fees
  are not dependent upon such outcomes, we will perform the Services with reasonable care and in
  a diligent and competent manner.

  Section 2 – Rates, Invoicing and Retainer

  DSI will be compensated at a rate of $100,000 per month, plus expenses (capped at $10,000 per
  month), for the services of Bradley D. Sharp as CRO and such DSI personnel (including Fred
  Caruso) as are required to fulfill Mr. Sharp’s responsibilities as CRO; provided that if any single
  expense exceeds $1,000, DSI will provide reasonable documentation and will obtain the
  Company’s prior written approval.

  A number of DSI’s personnel have experience in providing restructuring support services and
  may be utilized as Additional Personnel in this representation. Although others of our staff may




                                                                                          App. 0286
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  also be involved, we have listed below certain of the DSI personnel (along with their
  corresponding billing rates) who would likely constitute the Additional Personnel. The
  individuals are:

                   R. Brian Calvert                     $640.00/hr.
                   Thomas P. Jeremiassen                $575.00/hr.
                   Eric J. Held                         $495.00/hr.
                   Nicholas R. Troszak                  $485.00/hr.
                   Spencer G. Ferrero                   $350.00/hr.
                   Tom Frey                             $325.00/hr.

  The above rates are adjusted as of January 1 of each year to reflect advancing experience,
  capabilities, and seniority of our professionals as well as general economic factors.

  We acknowledge receipt of a retainer of $250,000 from the Company. The purpose of the
  retainer is to secure a portion of our fees and expenses and to retain our status as a non-creditor
  should such be required for DSI to continue to provide the Services. As such, should a need
  arise to increase this retainer due to the level of Services DSI is providing or projected to
  provide, we will send the Company a supplement to this Agreement requesting the necessary
  increases and discuss with the Company the amount and timing of providing such increase to the
  retainer.

  This retainer will be applied to our final invoice. If the retainer exceeds the amount of our final
  invoice, we will refund the difference to the Company at that time. In the event that periodic
  invoices are not paid timely, we will apply the retainer to the amounts owing on such invoices
  and, if applicable, any related late charges, and we will stop work until the retainer is replenished
  to the full amount required. If the retainer is not replenished within ten (10) days after the
  application of the retainer to unpaid balances, we reserve the right to terminate this Agreement in
  accordance with the provisions of Section 3 of this Agreement.

  DSI also will be entitled to reimbursement for its reasonable costs and expenses. Such costs and
  expenses may include, among others, charges for messenger services, photocopying, travel
  expenses, long distance telephone charges, postage and other charges customarily invoiced by
  consulting firms. Airfare for international flights will be charged at the business class fare;
  provided that if any single expense exceeds $1,000, DSI will provide reasonable documentation
  and will obtain the Company’s prior written approval.

  This Agreement shall be presented to the Bankruptcy Court for approval and continuation,
  pursuant to Bankruptcy Code Section 363 and DSI’s then-prospective obligations shall be
  contingent upon such approval.




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  Section 3 – Termination

  Either the Company or DSI may terminate this Agreement for any reason with ten (10) business
  days’ written notice. Notwithstanding anything to the contrary contained herein, the Company
  shall be obligated, in accordance with any orders of or procedures established by the Court, to
  pay and/or reimburse DSI all fees and expenses accrued under this Agreement as of the effective
  date of the termination.

  Section 4 – Relationship of the Parties, Confidentiality

  DSI will provide the Services to and for the Company, with select members of DSI assigned to
  specific roles for the benefit of the Company. These members will remain as DSI employees
  during the pendency of this case. Specifically, the parties intend that an independent contractor
  relationship will be created by this Agreement. Employees of DSI are not to be considered
  employees of the Company and are not entitled to any of the benefits that the Company provides
  for the Company’s employees.

  The Company acknowledges that all advice (written or oral) given by DSI to the Company in
  connection with DSI’s engagement is intended solely for the benefit and use of the Company in
  considering the transaction to which it relates, and that no third party is entitled to rely on any
  such advice or communication. DSI will in no way be deemed to be providing services for any
  person not a party to this Agreement.

  DSI agrees that all information not publicly available that is received by DSI from the Company
  in connection with this Agreement or that is developed pursuant to this Agreement, will be
  treated as confidential and will not be disclosed by DSI, except as required by Court order, or
  other legal process, or as may be authorized by the Company. DSI shall not be required to
  defend any action to obtain an order requiring disclosure of such information, but shall instead
  give prompt notice of any such action to the Company so that it may seek appropriate remedies,
  including a protective order. The Company shall reimburse DSI for all costs and fees (including
  reasonable attorney’s fees) incurred by DSI relating to responding to (whether by objecting to or
  complying with) any subpoenas or requests for production of information or documents.

  Section 5 – Indemnity

  The Company shall name Bradley D. Sharp as its Chief Restructuring Officer and shall
  indemnify him on the same terms as provided to the Company’s other officers and directors
  under the Company partnership agreement or other governing document and applicable state
  law. Mr. Sharp shall be included as an insured under any insurance policies or coverage
  available to officers and directors of the Company.




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  The Company shall additionally indemnify those persons, and only those persons, serving as
  executive officers on the same terms as provided to the Company’s other officers and directors
  under the Company’s partnership agreement or other governing document and applicable state
  law, along with insurance coverage under the Company’s D&O policies. Any such indemnity
  shall survive the expiration or termination by either party of this Agreement. Except as provided
  in this Section and in Section 4, there shall be no indemnification of DSI, its affiliates or the
  Additional Personnel.

  Each and every one of the personnel employed by DSI who works on this particular project, as
  well as DSI officers, directors, employees and agents (the “DSI Parties”) shall not be liable to the
  Company, or any party asserting claims on behalf of the Company, except for direct damages
  found in a final determination (not subject to further appeal) by a court of competent jurisdiction
  to be the direct result of the bad faith, self-dealing or intentional misconduct or gross negligence
  of DSI.

  Section 6 – Conflicts

  DSI has made diligent inquiries to determine whether it or any of its professionals have any
  connections with the Company, its creditors, or other parties in interest in the Chapter 11 Case.
  Based on that review, the review of DSI’s conflict files and responses to inquiries from DSI's
  professional staff, neither DSI nor its professionals have any known conflicts with the parties in
  this case. DSI will separately provide its connections to parties in this case and/or their
  professionals.

  Section 7 – No Audit

  The Company acknowledges that it is hiring DSI to assist and advise the Company in business
  planning and operations. DSI’s engagement shall not constitute an audit, review or compilation,
  or any other type of financial statement reporting engagement that is subject to the rules of
  AICPA or other such state and national professional bodies.

  Section 8 – Non-Solicitation

  The Company agrees not to solicit, recruit or hire any employees or agents of DSI for a period of
  one year subsequent to the completion and/or termination of this Agreement; provided that the
  Company shall not be prohibited from (x) making general advertisements for employment not
  specifically directed at employees of DSI or (y) employees of DSI responding to unsolicited
  requests for employment.




                                                                                           App. 0289
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  Section 9 – Survival

  The provisions of this Agreement relating to indemnification, the non-solicitation or hiring of
  DSI employees, and all other provisions necessary to the enforcement of the intent of this
  Agreement will survive the termination or expiration of this Agreement.

  Section 10 – Governing Law

  This Agreement shall be governed by and construed in accordance with the laws of the State of
  Delaware without regard to conflicts of law principles.

  Section 11 – Entire Agreement, Amendment

  This Agreement contains the entire understanding of the parties relating to the subject matter of
  this Agreement and supersedes and is intended to nullify any other agreements, understandings
  or representations relating to the subject of this Agreement. This Agreement may not be
  amended or modified except in a writing signed by the parties.

  If you are in agreement with the foregoing terms and conditions please indicate your acceptance
  by signing an original copy of this Agreement on the signature lines below, then returning one
  fully-executed Agreement to DSI’s office. The Agreement will become effective upon execution
  by duly authorized representatives of the respective parties.

  Very truly yours,

  Bradley Sharp
  Development Specialists, Inc.


                                  AGREED AND ACKNOWLEDGED:

                                  Highland Capital Management, L.P.
                                  By: Strand Advisors, Inc., its general partner


                                  _______________________________
                                  By: __________________, Independent Director
                                  Date: __________________________




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       A. Definitions
             a. Electronically stored information” or “ESI” shall include all electronic files,
                 documents, data, and information covered under the Federal Rules of Civil
                 Procedure.

       B. Preservation of ESI - Generally
             a. Debtor acknowledges that they should take reasonable and proportional steps to
                preserve discoverable information in the party’s possession, custody or control.
                This includes notifying employees possessing relevant information of their
                obligation to preserve such data.

       C. Preservation of ESI – Specific Forms
             a. For email, Debtor uses Outlook Email on an Exchange server. Veritas Enterprise
                Vault is used to archive emails. Journaling is and has been in active use since
                2007, and all inbound, outbound, and in-system email .communications have been
                preserved and are not at risk of deletion due to normal document retention
                practices. Out of an abundance of caution, a copy of the latest email back-up,
                which was performed two months ago, shall be copied and stored at a secured
                location.
             b. The file server used by Debtor was backed up approximately one week ago. A
                copy of this backup shall be created and stored on a portable hard drive at a
                secured location.
             c. The Sharepoint server used by Debtor was backed up approximately one week
                ago. A copy of this backup shall be created in a format that maintains all
                potentially relevant information and stored at a secured location.
             d. The Oracle E-Business Suite (EBS) server used by Debtor was backed up one
                week ago. A copy of this backup shall be created in a format and stored at a
                secured location.
             e. The Advent Geneva accounting system used by Debtor was backed up
                approximately one week ago. Upon reasonable notice, the Committee may
                submit search criteria to Debtor to run searches in Advent Geneva. Subject to
                Debtor’s rights to assert objections as provided by Part G herein, Debtor will
                provide the data resulting from such agreed searches pursuant to Part F herein..
             f. The Siepe Database (data warehouse) used by Debtor was backed up
                approximately one week ago. A copy of this backup shall be created in a format
                and stored at a secured location.
             g. For the Box account used by Debtor, to the extent routine data retention practices
                may result in file deletion, they shall be suspended pending further discussion
                with the Committee concerning the relevance of such data. Users of the Box
                account who have the ability to delete files shall be notified of the obligation to
                suspend deletion of any data stored in Box.
             h. Bloomberg data is archived for five years. Debtor shall work with Bloomberg
                client services to preserve a copy of all such archived material, which shall be
                stored at a secured location, or otherwise extend the backup window in which
                Bloomberg preserves the data by reasonable time to be agreed by the parties.




  ACTIVE 252191584

                                                                                          App. 0291
                                                                                            Exhibit C
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                     i. Files may be saved locally on laptops/work computers used by employees of
                        Debtor. This practice is discouraged, but may result in the creation of relevant
                        ESI on local systems in a manner that will not be replicated elsewhere. Debtor
                        shall therefore cease the deletion of data (i.e., wiping) of any employee-assigned
                        computer hard drives, such as for departing employees. Debtor shall furthermore
                        instruct current employees not to delete files stored locally on their assigned
                        computers.

       D. Not Reasonably Accessible Documents
             a. Absent an order from the Court upon a showing of good cause, a Party from
                whom ESI has been requested shall not be required to search for responsive ESI
                from sources that are not reasonably accessible without undue burden or cost.
                The following types of data stores are presumed to be inaccessible and are not
                subject to discovery, and need not be collected or preserved, absent a
                particularized need for the data as established by the facts and legal issues of the
                case:
                     i. Deleted, slack, fragmented, or other data only accessible by forensics;
                    ii. Random access memory (RAM), temporary files, or other ephemeral data
                        that are difficult to preserve without disabling the operating system; and
                   iii. On-line access data such as temporary internet files, history, cache,
                        cookies, and the like.
             b. To conduct collections in a focused and efficient manner, the Parties also agree to
                exclude the following file types from collection: Standard system file extensions
                including, but not limited to, BIN, CAB, CHK, CLASS, COD, COM, DLL DRV,
                EXE, INF, INI, JAVA, LIB, LOG, SYS and TMP and other file extensions and
                directories that likely do not contain user generated content such as files identified
                by hash value when compared to the National Software Reference Library
                reference data set (RDS Hash), a sub-project of the National Institute of Standards
                and Technology (“NIST”), of known traceable system and application files. This
                process is commonly referred to as “De-NISTing.”

       E. Collection and Search Methodology
             a. Searches for emails in Debtor’s custody shall be conducted by DSI on Debtor’s
                 Veritas Enterprise Vault storage using an unrestricted account at the earliest
                 opportunity, but in no event later than [date]. DSI shall use an add-on component
                 called Discovery Assistant, which enables searches based on email properties,
                 such as senders, recipients, and dates. Discovery Assistant also permits text
                 searching of email contents and the contents of electronic file attachments,
                 although not pictures of text (e.g., scanned PDFs). Debtor did not employ
                 employee message or file encryption that would prevent reasonable operation of
                 the Discovery Assistant search capabilities.
             b. The results of email searches shall be produced to the Committee pursuant to Part
                 F below, subject to completion of any review for privilege or other purposes
                 contemplated by this Agreement.
             c. A snapshot copy of Debtor databases (Oracle, Siepe) shall be created in a format
                 to be specified later by agreement with the Committee per Part (C)(d), (f), above.



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                                                                                                App. 0292
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                          Prior to any production of responsive data from such a structured database Debtor
                          will first identify the database type and version number, provide the vendor-
                          originated database dictionary, if any, (identifying all tables in the database, their
                          fields, the meaning of those fields, and any interrelation among fields) and any
                          user manuals, or any other documentation describing the structure and/or content
                          of the database, and a list of all reports that can be generated from the database.
                          The list of reports shall be provided in native Excel (.xis or .xlsx) format.
                     d.   The Geneva system is highly proprietary and shall not be collected, but the
                          Committee will be given reasonable access to that system per Part C(e), above.
                     e.   Debtor and Committee will meet and confer to discuss the scope of any necessary
                          searches on the Box account.
                     f.   Debtor file server contents, where requested by the Committee, shall be produced
                          pursuant to Part F below.
                     g.   Debtor shall propose a format for producing Sharepoint data. The Committee
                          agrees that it is not necessary to reproduce the interface used by Debtor in the
                          ordinary course of business for Sharepoint.

       F. Format of Documents Produced
             a. Non-database ESI shall be produced as black and white Group 4 TIFF files, with
                a resolution of 300 DPI. Page size shall be 8.5 x 11 inches unless, in the
                reasonable judgment of the Producing Party, a particular item requires a different
                page size, and original document orientation shall be maintained (i.e., portrait to
                portrait and landscape to landscape). A Requesting Party may, in good faith and
                reasonable judgment, request a color copy of a production document if it is
                necessary to convey the relevant and responsive information. Such color copies
                may be produced as single page JPG (JPEG) image files. The Requesting Party
                will bear the costs for color images.
             b. The files shall be accompanied by a metadata load file, in a single standard format
                to be requested by the Receiving Party prior to any production (e.g., Opticon,
                Summation DII, or the like) showing the Bates number of each page, the
                appropriate unitization of the documents, and the entire family range. The Parties
                agree to meet and confer regarding the requested standard format prior to
                production.
             c. The files shall be accompanied by a .DAT text file including the delimited fields
                identified in the Metadata List (below). No Party will have any obligation to
                manually generate information to provide the fields identified in the Metadata
                List.
             d. The Producing Party reserves the right to make hard copy documents available for
                inspection and copying pursuant to Federal Rule of Civil Procedure 34.
             e. In the event that a Party identifies hard copy documents for production, hard copy
                paper documents shall be scanned and will include, to the extent feasible, the
                following fields in the .DAT text file: PRODBEG, PRODEND, PAGECOUNT,
                FULLTEXT, and CUSTODIAN. The Parties agree to share equally in the cost of
                scanning hard copy documents.
             f. For any documents that were scanned from hard copy paper documents, the
                Parties will produce images of hard copy documents unitized to the extent the



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                                                                                                     App. 0293
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                          original documents appeared to be units in physical form, with attachments
                          following parents, and with information that identifies the holder (or container)
                          structure, to the extent such structure exists and it is reasonable to do so. The
                          Producing Party is not required to OCR (Optical Character Recognition) hard
                          copy documents. If the Receiving Party requests that hard copy documents be
                          OCR’ed, the Receiving Party shall bear the cost of such request, unless the Parties
                          agree to split the cost so that each has an OCR’ed copy of the documents.
                     g.   For ESI that the Producing Party produces in TIFF or JPEG format, the Producing
                          Party shall electronically “burn” a legible, unique Bates number onto each page.
                          The Bates number shall, to the extent reasonably possible: (1) identify the
                          Producing Party; (2) maintain a constant length of nine numeric digits (including
                          0-padding) across the entire production; (3) contain only alphanumeric characters,
                          no special characters or embedded spaces; and (4) be sequential within a given
                          document. If the Bates number conceals, interferes with, or otherwise obscures
                          any information from the source document, the Producing Party, at the request of
                          the Receiving Party, shall produce a copy that is not obscured.
                     h.   For ESI that the Producing Party produces in TIFF format, if the Producing Party
                          is producing the ESI subject to a claim that it is protected from disclosure under
                          any confidentiality order entered in this matter, the Producing Party shall
                          electronically “burn” the appropriate confidentiality designation onto each page of
                          the document. If the designation conceals, interferes with, or otherwise obscures
                          any information from the source document, the Producing Party, at the request of
                          the Receiving Party, shall produce a copy that is not obscured.
                     i.   The Parties agree to produce e-mail families intact absent a privilege or work
                          product claim, so long as each document contains responsive information; for all
                          documents that contain a responsive, non-privileged attachment, the following
                          fields will be produced (if available) as part of the metadata load file to indicate
                          the parent child or parent/sibling relationship:
                                   i. Production Bates begin
                                   ii. Production Bates end
                                   iii. Production Bates begin attachment
                                   iv. Production Bates end attachment
                          Notwithstanding the aforementioned, all parties acknowledge that Debtor’s.
                          Veritas Enterprise Vault system does not have the ability to search for the family
                          members of responsive documents, and that Debtor does not have an obligation to
                          manually search for non-responsive family members of otherwise responsive
                          documents.
                     j.   Unless otherwise agreed, all dynamic date and time fields, where such fields are
                          processed to contain a value, and all metadata pertaining to dates and times, will
                          be standardized to Universal Coordinated Time (UTC) or Universal Coordinated
                          Time + 1 (UTC+1) [TBD]. The Parties understand and acknowledge that such
                          standardization affects only dynamic fields and metadata values and does not
                          affect, among other things, dates and times that are hard-coded text within a file.
                          Dates and times that are hard-coded text within a file (for example, in an email
                          thread, dates and times of earlier messages that were converted to body text when
                          subsequently replied to or forwarded; and in any file type, dates and times that are



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                        typed as such by users) will be produced as part of the document text in
                        accordance with the provisions herein.
                     k. Exceptions to the Production Format
                     l. Excel spreadsheets shall be produced in native application format, unless
                        redactions are required. The Producing Party will make reasonable efforts to
                        provide a TIFF image of a slip sheet with the Bates number of documents
                        produced natively in its production. The corresponding native file shall be named
                        by using the same Bates number identified on the placeholder TIFF image. Any
                        Excel spreadsheet that requires redaction will be produced in TIFF format only.
                        Certain types of databases are dynamic in nature and may contain information that
                        is irrelevant. These files are sometimes large and would, if rendered to TIFF
                        images completely, produce thousands of pages that would have little utility to a
                        reviewer without the associated database.
                     m. To the extent information from a structured data repository, such as a database, is
                        requested, responsive information will be produced via a report or export of such
                        data to an appropriate program that is agreeable to the requesting Party. The
                        Parties agree to meet and confer before such data is exported.

       G. Production Format Shall Not Alter Authenticity, Admissibility, or Privilege Status
             a. No Party shall object that ESI produced pursuant to this Protocol is not authentic
                by virtue of the ESI having been converted to TIFF. The Parties otherwise reserve
                all rights regarding their ability to object to the authenticity of documents.
             b. Nothing in this Protocol shall be construed to affect in any way the rights of any
                Party to make any objection as to the production, discoverability, admissibility, or
                confidentiality of documents and ESI.
             c. Nothing in this Protocol shall constitute a waiver by any Party of any claim or
                privilege or other protection from discovery.
             d. Nothing in this Protocol shall be interpreted to in any way limit a Producing
                Parties right and ability to review documents for responsiveness prior to
                production.
             e. Nothing in the Protocol shall require disclosure of irrelevant information or
                relevant information protected by the attorney-client privilege, work-product
                doctrine, or any other applicable privilege or immunity.

  Metadata List
           File Name                      Field Description               Sample Values
           BegBates                       Bates number for the first page ABC-0000001
                                          of the document
                     EndBates             Bates number for the last page ABC-0000002
                                          of the document
                 BegAttach                Bates number for the first page ABC-0000001
                                          of parent document
                 EndAttach                Bates number for the last page ABC-0000005
                                          of last attachment
                       Pages              Number of printed pages of the 2
                                          document


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            Global Custodian     Custodian name produced in       Smith, Jane; Taylor, Michael
                                 format: Lastname, Firstname.
              Confidentiality    Indicates if the document has Confidential; Highly Confidential
                                 been designated as
                                 “Confidential” or “Highly
                                 Confidential” pursuant to the
                                 applicable Protective Order
                     Redacted    Descriptor for documents that Yes
                                 have been redacted: “Yes” for
                                 redacted documents; “No” for
                                 non-redacted documents
             Email Subject       Subject line of Email or         Text of the subject line
           Document Subject      Subject value of documents       Text of the subject line
               Date Sent         Date email sent                  mm/dd/yyyy
               Time Sent         Time email sent                  hh:mm:ss AM
           Date Last Modified    Date document was last           mm/dd/yyyy
                                 modified
          Time Last Modified     Time document was last           hh:mm:ss AM
                                 modified
               Date Created      Date document was first created mm/dd/yyyy
                    To           All SMTP address of email        Larry.murphy@email.com
                                 recipients, separated by a semi-
                                 colon
                       From      All SMTP address of email        Bart.cole@email.com
                                 author
                        CC       All SMTP address of email        Jim.James@gmail.com;
                                 “CC” recipients, separated by a bjones@yahoo.com
                                 semi-colon
                       BCC       All SMTP address of email        mjones@gmail.com
                                 “BCC” recipients, separated by
                                 a semi-colon
                      Attach     The file name(s) of the          Filename.doc; filename2.doc
                                 documents attached to emails or
                                 embedded in files. Multiple
                                 files should be delimited by a
                                 semicolon
                   Title         The Title property of a file.    Title
                  Author         The Author property of a file John Doe
                MessageID        The email message ID
                FILENAME         The original name of the file    C:\My Documents\letter.doc
                                 excluding the path
                     DocType     Email, letter, memo, invoice,
                                 etc., if available
                     Extension   The file extension               .doc




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                                                                                    App. 0296
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                     FileType   The actual file type of the
                                document (Word, Excel, etc.)
                                regardless of the file extension
                 HashValue      MD5 Hash value of original file
                  FilePath      The directory structure of the C:\My Documents\ letter.doc
                                original file.
               PathToNative     The relative path to a produced C:\VOL001\BATES000000001.xls
                                native document
                PathToText      The relative path to the         C:\VOL001\BATES000000001.txt
                                accompanying text file
                     Volume     The production number or
                                reference from the production
             Other Custodian    To the extent global
                                deduplication is used, the field
                                indicates the other custodians
                                who also were in possession of
                                the document at the time of
                                collection




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                                                                                App. 0297
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  I.    Definitions
        A.     “Court” means the United States Bankruptcy Court for the Northern District of
               Texas.
        B.     “NAV” means (A) with respect to an entity that is not a CLO, the value of such
               entity’s assets less the value of its liabilities calculated as of the month end prior
               to any Transaction; and (B) with respect to a CLO, the CLO’s gross assets less
               expenses calculated as of the quarter end prior to any Transaction.
        C.     “Non-Discretionary Account” means an account that is managed by the Debtor
               pursuant to the terms of an agreement providing, among other things, that the
               ultimate investment discretion does not rest with the Debtor but with the entity
               whose assets are being managed through the account.
        D.     “Related Entity” means collectively (A)(i) any non-publicly traded third party in
               which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
               respect to Messrs. Okada, Scott and Honis, only to the extent known by the
               Debtor) has any direct or indirect economic or ownership interest, including as a
               beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
               Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
               Okada, Scott and Honis, only to the extent known by the Debtor); (iii) MGM
               Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
               or any Related Entity has filed a Form 13D or Form 13G; (v) any relative (as
               defined in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
               each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
               Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
               person that is an insider of the Debtor under Section 101(31) the Bankruptcy
               Code, including any “non-statutory” insider; and (viii) to the extent not included
               in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
               hereto (the “Related Entities Listing”); and (B) the following Transactions,
               (x) any intercompany Transactions with certain affiliates referred to in paragraphs
               16.a through 16.e of the Debtor’s cash management motion [Del. Docket No. 7];
               and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
               that additional parties may be added to this subclause (y) with the mutual consent
               of the Debtor and the Committee, such consent not to be unreasonably withheld).
        E.     “Stage 1” means the time period from the date of execution of a term sheet
               incorporating the protocols contained below the (“Term Sheet”) by all applicable
               parties until approval of the Term Sheet by the Court.
        F.     “Stage 2” means the date from the appointment of a Board of Independent
               Directors at Strand Advisors, Inc. until 45 days after such appointment, such
               appointment being effective upon Court approval.
        G.     “Stage 3” means any date after Stage 2 while there is a Board of Independent
               Directors at Strand Advisors, Inc.
        H.     “Transaction” means (i) any purchase, sale, or exchange of assets, (ii) any lending
               or borrowing of money, including the direct payment of any obligations of
               another entity, (iii) the satisfaction of any capital call or other contractual


                                                 1
                                                                                          App. 0298
                                                                                            Exhibit D
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               requirement to pay money, including the satisfaction of any redemption requests,
               (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
        I.     "Ordinary Course Transaction” means any transaction with any third party which
               is not a Related Entity and that would otherwise constitute an “ordinary course
               transaction” under section 363(c) of the Bankruptcy Code.
        J.     “Notice” means notification or communication in a written format and shall
               include supporting documents necessary to evaluate the propriety of the proposed
               transaction.
  II.   Transactions involving the (i) assets held directly on the Debtor’s balance sheet or
        the balance sheet of the Debtor’s wholly-owned subsidiaries, including Jefferies
        Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
        Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
        A.     Covered Entities: N/A (See entities above).
        B.     Operating Requirements
               1.     Ordinary Course Transactions do not require Court approval (All Stages).
                      a)     Stage 1 and Stage 2: ordinary course determined by the CRO.
                      b)     Stage 3: ordinary course determined by the Debtor.
               2.     Related Entity Transactions
                      a)     Stage 1 and Stage 2: Transactions with Related Entities require
                             prior approval of CRO and five business days advance notice to
                             the Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval, which the Committee agrees may
                             be sought on an expedited basis.
                      b)     Stage 3:
                             (1)    Transactions with Related Entities greater than $1,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require five business days advance notice to the
                                    Committee and if the Committee objects, the burden is on
                                    the Debtor to seek Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
                             (2)    Transactions with Related Entities greater than $2,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
               3.     Third Party Transactions (All Stages)
                      a)     Except as set forth in (b) and (c) below, Transactions in excess of
                             $2,000,000 (either individually or in the aggregate basis on a
                             rolling 30 day period) require three business days advance notice
                             to Committee and if the Committee objects, the burden is on the



                                               2
                                                                                       App. 0299
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                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                            b)      The Debtor may satisfy any redemption requests from entities that
                                    are not Related Entities without advance notice so long as the
                                    Debtor provides notice of such Transactions to the Committee as
                                    soon as reasonably practicable. Redemption requests payable to
                                    Related Entities will be held in escrow and will not prevent the
                                    winding up or liquidation of any fund or entity.
                            c)      The Debtor may satisfy margin calls and short covers without
                                    providing the Committee advance notice if the exigencies do not
                                    allow advance notice so long as the Debtor provides notice of such
                                    Transactions to the Committee as soon as reasonably practicable.
          C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                   showing all Transactions under this category.
  III.    Transactions involving entities the Debtor manages and in which the Debtor holds a
          direct or indirect interest (other than the entities discussed in Section I above)
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                   all entities the Debtor manages and in which the Debtor holds a direct or indirect
                   interest (other than the entities discussed in Section I above).1
          B.       Operating Requirements
                   1.       Ordinary Course Transactions do not require Court approval (All Stages).
                            a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                            b)      Stage 3: ordinary course determined by the Debtor.
                   2.       Related Entity Transactions
                            a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                    prior approval of CRO and five business days advance notice to
                                    the Committee and if the Committee objects, the burden is on the
                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                            b)      Stage 3:
                                    (1)      Transactions with Related Entities greater than $1,000,000
                                             (either individually or in the aggregate basis on a rolling 30
                                             day period) require five business days advance notice to the
                                             Committee and if the Committee objects, the burden is on
                                             the Debtor to seek Court approval, which the Committee
                                             agrees may be sought on an expedited basis.


  1
    The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.


                                                         3
                                                                                                      App. 0300
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                                    (2)      Transactions with Related Entities greater than $2,000,000
                                             (either individually or in the aggregate basis on a rolling 30
                                             day period) require Court approval, which the Committee
                                             agrees may be sought on an expedited basis.
                   3.       Third Party Transactions (All Stages)
                            a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                    $2,000,000 (either individually or in the aggregate basis on a
                                    rolling 30 day period) require three business days advance notice
                                    to Committee and if the Committee objects, the burden is on the
                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                            b)      The Debtor may satisfy any redemption requests from entities that
                                    are not Related Entities without advance notice so long as the
                                    Debtor provides notice of such Transactions to the Committee as
                                    soon as reasonably practicable. The Debtor will provide the
                                    Committee with five business days advance notice of any
                                    redemption requests made by and payable to a Related Entity, and
                                    if the Committee objects, the burden is on the Debtor to seek Court
                                    approval, which the Committee agrees may be sought on an
                                    expedited basis.
                            c)      The Debtor may satisfy margin calls and short covers without
                                    providing the Committee advance notice if the exigencies do not
                                    allow advance notice so long as the Debtor provides notice of such
                                    Transactions to the Committee as soon as reasonably practicable.
          C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                   showing all Transactions under this category.
  IV.     Transactions involving entities that the Debtor manages but in which the Debtor
          does not hold a direct or indirect interest
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                   all entities that the Debtor manages but in which the Debtor does not hold a direct
                   or indirect interest.2
          B.       Operating Requirements
                   1.       Ordinary Course Transactions do not require Court approval (All Stages).
                            a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                            b)      Stage 3: ordinary course determined by the Debtor.
                   2.       Related Entity Transactions



  2
    The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.


                                                         4
                                                                                                      App. 0301
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                    a)     Stage 1 and Stage 2: Transactions with Related Entities require
                           prior approval of CRO and five business days advance notice to
                           the Committee and if the Committee objects, the burden is on the
                           Debtor to seek Court approval, which the Committee agrees may
                           be sought on an expedited basis.
                    b)     Stage 3:
                           (1)    Transactions with Related Entities greater than $1,000,000
                                  (either individually or in the aggregate basis on a rolling 30
                                  day period) require five business days advance notice to the
                                  Committee and if the Committee objects, the burden is on
                                  the Debtor to seek Court approval, which the Committee
                                  agrees may be sought on an expedited basis.
                           (2)    Transactions with Related Entities greater than $2,000,000
                                  (either individually or in the aggregate basis on a rolling 30
                                  day period) require Court approval, which the Committee
                                  agrees may be sought on an expedited basis.
              3.    Third Party Transactions (All Stages):
                    a)     Except as set forth in (b) and (c) below, any Transaction that
                           decreases the NAV of an entity managed by the Debtor in excess
                           of the greater of (i) 10% of NAV or (ii) $3,000,000 requires five
                           business days advance notice to Committee and if the Committee
                           objects, the burden is on the Debtor to seek Court approval, which
                           the Committee agrees may be sought on an expedited basis.
                    b)     The Debtor may satisfy any redemption requests from entities that
                           are not Related Entities without advance notice so long as the
                           Debtor provides notice of such Transactions to the Committee as
                           soon as reasonably practicable. The Debtor will provide the
                           Committee with five business days advance notice of any
                           redemption requests made by and payable to a Related Entity, and
                           if the Committee objects, the burden is on the Debtor to seek Court
                           approval, which the Committee agrees may be sought on an
                           expedited basis.
                    c)     The Debtor may take such steps as may be reasonably necessary to
                           winddown any managed entity and make distributions as may be
                           required in connection with such winddown to any required
                           parties. The Debtor will provide the Committee with five business
                           days advance notice of any distributions to be made to a Related
                           Entity, and if the Committee objects, the burden is on the Debtor to
                           seek Court approval, which the Committee agrees may be sought
                           on an expedited basis.
        C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
              showing all Transactions under this category.



                                             5
                                                                                     App. 0302
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  V.      Transactions involving entities that the Debtor does not manage but in which the
          Debtor holds a direct or indirect interest
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                   entities that the Debtor does not manage but in which the Debtor holds a direct or
                   indirect interest.3
          B.       Ordinary Course Transactions (All Stages): N/A
          C.       Operating Requirements: N/A
          D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                   Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                   a direct or indirect interest.
  VI.     Transactions involving entities that the Debtor does not manage and in which the
          Debtor does not hold a direct or indirect interest
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                   entities that the Debtor does not manage and in which the Debtor does not hold a
                   direct or indirect interest.4
          B.       Ordinary Course Transactions (All Stages): N/A
          C.       Operating Requirements: N/A
          D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                   Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                   a direct or indirect interest.
  VII.    Transactions involving Non-Discretionary Accounts
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                   non-discretionary accounts.5
          B.       Ordinary Course Transactions (All Stages): N/A
          C.       Operating Requirements: N/A
          D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                   Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                   a direct or indirect interest.




  3
    The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.
  4
    The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.
  5
    The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.


                                                         6
                                                                                                      App. 0303
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  VIII. Additional Reporting Requirements – All Stages (to the extent applicable)
        A.     DSI will provide detailed lists and descriptions of internal financial and
               operational controls being applied on a daily basis for a full understanding by the
               Committee and its professional advisors three (3) business days in advance of the
               hearing on the approval of the Term Sheet and details of proposed amendments to
               said financial and operational controls no later than seven (7) days prior to their
               implementation.
        B.     The Debtor will continue to provide weekly budget to actuals reports referencing
               their 13-week cash flow budget, such reports to be inclusive of all Transactions
               with Related Entities.
  IX.   Shared Services
        A.     The Debtor shall not modify any shared services agreement without approval of
               the CRO and Independent Directors and seven business days’ advance notice to
               counsel for the Committee.
        B.     The Debtor may otherwise continue satisfying its obligations under the shared
               services agreements.
  X.    Representations and Warranties
        A.     The Debtor represents that the Related Entities Listing included as Schedule B
               attached hereto lists all known persons and entities other than natural persons
               included in the definitions of Related Entities covered by Section I.D parts A(i)-
               (vii) above at the time of the execution of the Term Sheet.
        B.     The Debtor represents that the list included as Schedule C attached hereto lists all
               known natural persons included in the definitions of Related Entities covered by
               Section I.D parts A(i)-(vii) above at the time of the execution of the Term Sheet.
        C.     The Debtor represents that, if at any time the Debtor becomes aware of any
               person or entity, including natural persons, meeting the definition of Related
               Entities covered by Section I.D parts A(1)-(vii) above that is not included in the
               Related Entities Listing or Schedule C, the Debtor shall update the Related
               Entities Listing or Schedule C, as appropriate, to include such entity or person and
               shall give notice to the Committee thereof.




                                                7
                                                                                        App. 0304
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                                                  Schedule A6
  Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
            1. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
            2. Dynamic Income Fund (0.26% Ownership Interest)
  Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
  interest
            1.   Highland Prometheus Master Fund L.P.
            2.   NexAnnuity Life Insurance Company
            3.   PensionDanmark
            4.   Highland Argentina Regional Opportunity Fund
            5.   Longhorn A
            6.   Longhorn B
            7.   Collateralized Loan Obligations
                 a) Rockwall II CDO Ltd.
                 b) Grayson CLO Ltd.
                 c) Eastland CLO Ltd.
                 d) Westchester CLO, Ltd.
                 e) Brentwood CLO Ltd.
                 f) Greenbriar CLO Ltd.
                 g) Highland Park CDO Ltd.
                 h) Liberty CLO Ltd.
                 i) Gleneagles CLO Ltd.
                 j) Stratford CLO Ltd.
                 k) Jasper CLO Ltd.
                 l) Rockwall DCO Ltd.
                 m) Red River CLO Ltd.
                 n) Hi V CLO Ltd.
                 o) Valhalla CLO Ltd.
                 p) Aberdeen CLO Ltd.
                 q) South Fork CLO Ltd.
                 r) Legacy CLO Ltd.
                 s) Pam Capital
                 t) Pamco Cayman
  Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
  interest
            1.   Highland Opportunistic Credit Fund
            2.   Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
            3.   NexPoint Real Estate Strategies Fund
            4.   Highland Merger Arbitrage Fund
            5.   NexPoint Strategic Opportunities Fund
            6.   Highland Small Cap Equity Fund
            7.   Highland Global Allocation Fund

  6
      NTD: Schedule A is work in process and may be supplemented or amended.

                                                         8

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         8. Highland Socially Responsible Equity Fund
         9. Highland Income Fund
         10. Stonebridge-Highland Healthcare Private Equity Fund (“Korean Fund”)
         11. SE Multifamily, LLC
  Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
  indirect interest
         1. The Dugaboy Investment Trust
         2. NexPoint Capital LLC
         3. NexPoint Capital, Inc.
         4. Highland IBoxx Senior Loan ETF
         5. Highland Long/Short Equity Fund
         6. Highland Energy MLP Fund
         7. Highland Fixed Income Fund
         8. Highland Total Return Fund
         9. NexPoint Advisors, L.P.
         10. Highland Capital Management Services, Inc.
         11. Highland Capital Management Fund Advisors L.P.
         12. ACIS CLO Management LLC
         13. Governance RE Ltd
         14. PCMG Trading Partners XXIII LP
         15. NexPoint Real Estate Partners, LLC f/k/a HCRE Partners LLC
         16. NexPoint Real Estate Advisors II LP
         17. NexPoint Healthcare Opportunities Fund
         18. NexPoint Securities
         19. Highland Diversified Credit Fund
         20. BB Votorantim Highland Infrastructure LLC
         21. ACIS CLO 2017 Ltd.
  Transactions involving Non-Discretionary Accounts
         1. NexBank SSB Account
         2. Charitable DAF Fund LP




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                                                   Schedule B

                               Related Entities Listing (other than natural persons)




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                                     Schedule C

       1. James Dondero
       2. Mark Okada
       3. Grant Scott
       4. John Honis
       5. Nancy Dondero
       6. Pamela Okada
       7. Thomas Surgent
       8. Scott Ellington
       9. Frank Waterhouse
       10. Lee (Trey) Parker




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  November 2019


  James P. Seery, Jr.

  New York, NY




   James P. Seery, Jr. is a high yield and distressed investing professional who was most recently a Senior
  Managing Director and co-Head of Credit at Guggenheim Securities LLC, where he is responsible for
  helping direct the development of a leveraged finance and credit distribution business. Prior to joining
  Guggenheim, Mr. Seery was the President and a senior investing partner of River Birch Capital, LLC, a
  $1.3bn global credit fund manager. In that role, he developed and led many of the firm’s most
  profitable credit investments. Mr. Seery is a licensed attorney and was formerly a partner and co-Head
  of the Sidley Austin LLP New York Corporate Reorganization and Bankruptcy Group, and he also recently
  served as a Commissioner on The American Bankruptcy Institute’s Commission to Study the Reform of
  Chapter 11.

  Before his joining Sidley Austin, Mr. Seery was a Managing Director and the Global Head of Lehman
  Brothers’ Fixed Income Loan business. In that position, he was responsible for managing the Lehman
  Brothers’ Fixed Income investment grade and high yield loan businesses, including underwriting
  commitments, distribution, hedging, trading and sales (including CLO manager relationships), portfolio
  management, and restructuring. Mr. Seery was also a member of the Lehman Brothers’ Fixed Income
  Operating Committee and Global Credit Products Operating Committee as well as the High Yield
  Commitment and New Business Committees. From 2000 to 2004, Mr. Seery ran Lehman Brothers’
  restructuring and workout businesses with responsibility for management of distressed corporate debt
  investments, and in 2008 he was a key member of the small team that successfully sold Lehman to
  Barclays.

  Mr. Seery was selected as one of the Top Restructuring Lawyers in the U.S. Under 40 by Turnarounds
  and Workouts in 1999. Mr. Seery graduated in 1990 from New York Law School, magna cum laude,
  where he was an editor of the Law Review and Colgate University in 1984. He was a member of the
  Board of Directors of the Loan Syndications and Trading Association from 2006 to 2008 and a member of
  the INSOL International Lenders Group from 2016-2017.



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                                      JAMES P. SEERY, JR.
                                        795 Columbus Ave., 12A
                                       New York, New York 10025
                                   631-804-2049 · jpseeryjr@gmail.com

  Experience

  Guggenheim Securities LLC, New York, New York                                     Aug. 2017-Nov. 2019
  Senior Managing Director, Co-Head Credit
      • Responsible for developing leveraged finance and credit portfolio advisory businesses
      • Management of teams of leveraged finance bankers and trading and sales professionals
  River Birch Capital, LLC, New York, New York                                      April 2012-July 2017
  President, River Birch Capital, LLC
      • President and senior investing partner at New York based $1.3bn global long-short credit fund
          focused on corporate credit from investment grade to distressed
      • Responsible for originating, executing and managing stressed and distressed credit investments
          with a team of 6 investing partners and 5 analysts and traders
      • Led finance and operations team with CFO/CCO; firm grew from approx. $200mm in 2012 to
          $1.3bn in 2017
  Sidley Austin LLP, New York, New York                                             May 2009-April 2012
  Co-head New York Corporate and Reorganization Group
      • Built and managed a creditor focused restructuring group as part of an international company side
          practice in a nearly 2000 attorney firm
      • Represented banks, corporations, hedge funds, and structured investment vehicles in a variety of
          restructuring, financing and litigation matters
  Lehman Brothers, New York, New York                                               April 1999-May 2009
  Global Head Fixed Income Loans
      • Managing Director responsible for managing the global fixed income loan business, including
          investment grade and high yield commitments, global distribution, hedging, trading and sales,
          CLO origination, portfolio management, and restructuring; managed underwritten loan
          commitments and teams of credit sales and trading professionals as well as structuring, portfolio
          management and work-out specialists
      • Member Fixed Income Operating Committee, Global Credit Products Operating Committee, and
          High Yield Commitment and New Business Committees
      • Responsible for originating, structuring and managing proprietary distressed debt investments,
          rescue financings, and restructurings 1999-2004
      • Key member of team that negotiated and completed the sale of Lehman Brothers to Barclays
          Sept. 2008; remained at Barclays through April 2009
  Phillips Nizer, Garden City, New York                                             May 1995-April 1999
      • Senior Associate in corporate reorganization group of boutique New York City law firm
  Cadwalader, Wickersham & Taft, New York, New York                                  May 1989-May 1995
      • Associate in corporate reorganization group of New York City based international law firm

  Education

  New York Law School, New York, New York, J.D., magna cum laude, Editor Law Review                  1990
  Colgate University, Hamilton, New York, B.A. History                                               1984




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  Experience

  Director, River Birch International, Ltd. Board                                                         2015-2017
  Director, Camphill Foundation Board                                                                     2017-2019
  Member, INSOL International Lenders Group Board                                                         2016-2017
  Commissioner, ABI Commission to Study Reform of Ch. 11                                                  2012-2015
  Director, Loan Syndications and Trading Association                                                     2006-2008

  Selected River Birch Sample Investments

  Cash America International 5.75% Senior Unsecured Notes due 2018 and Litigation Claim – Developed and led
  execution of successful note purchase and make-whole litigation strategy based on company’s improper spin of
  payday lending business; U.S. District Court published decision in note holders’ favor led to settlement

  Chesapeake Energy Corp 6.775% Senior Notes due 2019 Litigation Claims – Developed and led execution of
  successful note purchase and make-whole litigation strategy based on company’s improper call of notes; ultimately
  prevailed in $450mm judgment discussed in published Second Circuit and U.S. District Court decisions

  Caesars Entertainment Resort Properties 8% 1st Lien Notes due 2020; 11% 2d Lien Notes due 2021 – Developed and
  led (with senior investment analyst partner) execution of successful bankruptcy investment strategy focused on lower
  beta part of the capital structure of bankrupt casino operator; investment designed for high return with significant
  downside protection

  Intelsat Jackson Holdings 9.5% Senior Secured Notes due 2022 – Developed and led (with senior investment analyst
  partner) execution of successful new issue stressed secured note investment strategy; responsible for structuring and
  tightening covenant package and increasing size of offering after determining that potential litigation threat was
  low risk; responsible for recommending ICF 12.5% note investment in the low 80s in February 2018

  Motors Liquidation Company GUC Trust Publicly Traded Units – Developed and led successful investment strategy
  in publicly traded bankruptcy liquidation units (GM); took the opposite side of sell-side analyst recommendations
  and engineered a successful settlement in high return/low downside position

  Hypo Alpe Adria Bank (Hetar) Senior Guaranteed Notes – Developed and led (with senior investment analyst
  partner) execution of successful investment strategy in insolvent Austrian bank with notes guaranteed by an Austrian
  State

  Presidio Inc. 10.25% Senior Notes due 2023 – Developed and led execution of successful investment strategy to
  purchase newly developed mezzanine part of the capital structure on struggling new issue deal; ultimately sponsor
  purchased the mezzanine but aggressive structuring and bidding for the mezzanine tranche led to outsized
  allocation of new notes

  Nortel Networks Ltd. 6.875% Senior Notes due 2023 – Developed and led (with senior investment analyst partner)
  execution of bankruptcy liquidation strategy based on litigation and ultimate leverage of Canadian liquidating
  estate




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  Selected Speaking Engagements

  American Law Institute/ NYU Law – Credit Markets and Corporate Reorganization, New York City, April 2017
  Moderator, Auctions and Asset Sales In and Out of Bankruptcy

  University of Texas Law/American Bankruptcy Institute -- Emerging Valuation Issues in Bankruptcy, Las Vegas,
  March 2017
  Panelist, Determining Valuation and the Fulcrum Security
  Panelist, Distressed Investments Strategies

  NYU Law – Claim Priority Roundtable, New York City, September 2016
  Panelist, Allocating Value in and Out of Bankruptcy

  University of Texas Law/ABI – Emerging Valuation Issues in Bankruptcy, Las Vegas, March 2016
  Panelist, ABI Commission Report Proposed Amendments and Their Impact on Valuation

  The M&A Advisor – Distressed Investing Summit, Palm Beach, January 2016
  Panelist, Using Options to Bridge Value Gaps

  NYU Law – Seligman Bankruptcy and Business Reorganization Workshop, New York City, September 2015
  Panelist, Valuation Approaches and Methodologies

  Skadden Arps/Colgate University – Law and Finance Summit, New York City, November 2014
  Presenter, Recent Developments in Bankruptcy and Distressed Debt




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                             Dubel & Associates, L.L.C.

                               John S. Dubel
                        Board of Directors Experience


      Purdue Pharma Inc. – July 2019 to Present - Independent Board Member
       and Chair of the Special Committee of Directors

        In addition to being a member of the Board of Directors of Purdue Pharma Inc., I am the
        Chair of the Special Committee of Independent Directors charged with overseeing the
        investigation of relationships between Purdue and Purdue owners, the Sackler family.

      WMC Mortgage, LLC – Indirect Subsidiary GE – July 2018 to
       December 2019 - Independent Board Member and Chair of the Special
       Independent Committee of Directors

        WMC’s chapter 11 plan was recently confirmed and WMC will emerge from Chapter 11
        in early December 2019. I am the Chair of the Special Independent Committee of
        Independent Directors for this indirect subsidiary of GE. The Special Committee was
        tasked with reviewing the relationship between the insolvent WMC and GE and resolving
        its insolvency issues through a court supervised chapter 11 proceeding. I was the lead
        person responsible for negotiations with the parent concerning the level of support that
        the parent was required to provide and worked with our creditors to negotiate a resolution
        amongst all parties.

      Werner Co. – January 2013 to Present – Sole Independent Director

        Werner is a global leader in access equipment, secure storage, light duty construction and
        fall protection products with operations across all geographies. A consortium of private
        equity investors bought the assets out of a bankruptcy proceeding in 2007. I was asked to
        serve on the Board as the sole Independent Director by the largest shareholder. Werner
        more than doubled the size of its business, diversified its product offering and
        substantially improved its EBITDA prior to its sale in July 2017. As an independent
        director, working with one other director, we lead the effort in the sale process that
        achieved an additional $180 million increase in the sale price of the company for its
        distressed investors. I am currently the lead director responsible for the resolution of
        post-sale purchase price adjustments.

      Old PSG f/k/a Performance Sports Group – August 2017 to December
       2017

        Asked to serve on the Board, by the Official Equity Committee, after the sale of
        Performance Sports Group’s assets. My role was to oversee the plan of reorganization
        process to drive to a smooth confirmation.


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      FXI Holdings – September 2010 to October 2017 – Independent Director
        FXI is a leading producer of engineered polyurethane foam solutions serving the largest
        customers in the largest markets. It has the broadest customer and consumer reach of any
        North American foam producer. FXI’s assets where purchased during a bankruptcy
        proceeding in 2009. I was asked to serve on the board of directors by one of the two
        private equity firms that owned FXI. Shortly after joining the Board, I was asked to Chair
        a Special Committee of the Board to manage certain litigation and government
        investigations related to alleged anti-trust infractions. FXI was the subject of over 50
        different class action and individual litigations alleging damages in excess of $3 billion.
        Over a period of several years, FXI was able to settle all of its litigation for a minor
        fraction of the alleged damages and all investigations by the government were dropped.
        During this time, the company’s performance improved in a consistent manner with
        EBITDA more than doubling. Once these litigations were settled, the company was
        marketed and ultimately sold in October 2017.

      ResCap Liquidating Trust – December 2013 to March 2017 – Chairman of
       the Board - December 2013 to late 2015

        After the ResCap chapter 11 plan was confirmed, I served on the Board of the ResCap
        Liquidating Trust, as FGIC’s representative, to guide the wind down of the remaining
        assets and prosecute claims in excess of $4 billion against institutions that caused harm to
        ResCap. During this time, I also served as Liquidating Trustee while we brought on board
        a new in-house lawyer to prosecute these claims and transitioned this individual into the
        permanent Liquidating Trustee role.

      FGIC Corporation and FGIC - December 2008 to April 2014 – Chairman
       of the Board during various parts of that time frame – while serving as CEO

      Barneys New York – February 2012 to May 2012 – Sole Independent
       Director

        After Barneys’ 2007 sale to Istithmar World, the Government of Dubai’s private
        investment fund, Barneys was impacted by the recession in the late 2000’s. I was brought
        in to serve as the sole independent director during the out of court restructuring process
        which resulted in a consensual change of control for Barneys to its distressed investor
        creditors.

      The Leslie Fay Companies – April 1993 to May 1996 – while serving as
       the EVP of Restructuring and CFO

      Mr. Dubel has also served as a member and chairperson of various ad hoc
       and official creditor committees.


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                            John S. Dubel
                      Key Management Experience
      Noble Environmental Power – Restructuring Advisor to the Company -
       2018

        Noble was the owner of two utility scale wind power plants in upstate New York which
        were in default on their debt instruments. Working closely with Noble’s investment
        bankers we were able to complete a sale of these plants while keeping the companies out
        of chapter 11 and returning net sale proceeds to its shareholders.

      SunEdison, Inc. – Chief Executive Officer and Chief Restructuring Officer
       – 2016-2017

        SunEdison was the largest global renewable energy development company prior to its
        filing for chapter 11 in April 2016. SunEdison had over $10 billion of liabilities and
        4,500 employees spread across operations in over 50 countries on 6 continents. A decline
        in energy prices along with loss of faith in management by investors and numerous
        litigations filed against the company caused the closing of the capital markets for
        SunEdison which led to its filing for chapter 11. I was brought in as a requirement of the
        DIP agreement. SunEdison’s assets were sold in a manner to preserve the greatest value
        for its creditors. I am currently assisting the wind down SunEdison entity as requested.

      Financial Guaranty Insurance Company – Chairman and Chief Executive
       Officer – 2008-2014

        FGIC was the third largest monoline bond insurer, insuring in excess of $300 billion of
        public finance instruments, RMBS securitizations and CDS contracts with over $4 billion
        of capital. After the collapse of the residential mortgage market in the 2007/08 timeframe,
        FGIC lost its AAA ratings and experienced tremendous losses on its insurance contracts.
        This led to an insolvency proceeding under NY State insurance law with an innovative
        resolution through a pre-arranged rehabilitation plan. This enabled it to continue to pay
        its policy holders in a timely manner.

      Residential Capital – Co-Chairman of the Official Creditors Committee –
       2012-2013

        ResCap, a wholly owned subsidiary of Ally Financial, was one of the largest mortgage
        originators in the US. FGIC was its 2nd largest creditor and after its chapter 11 filing in
        May of 2012, I was appointed as the Co-Chair of ResCap’s Official Unsecured Creditors
        Committee. As the lead negotiator for the UCC, the UCC was able to negotiate an
        increase in the contribution to the plan of reorganization by the parent, Ally, from
        approximately $650 million to $2.1 billion. This contribution settled all of the litigation
        between Ally and Rescap and enabled ResCap to emerge from chapter 11.


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      Anchor Glass Container Corporation – Chief Restructuring Officer –
       2005-2006

        Anchor Glass was the 3rd largest manufacturer of glass containers in the US, with
        Anheuser Busch and Snapple as its largest customers, where it provided “just in time”
        deliveries to enable its customers plants to operate 24/7. Its third trip through chapter 11
        resulted from poor contract pricing and high legacy costs. I worked closely with the CEO
        to renegotiate these contracts and reduce the cost structure which enabled it to emerge
        from chapter 11 as a viable business which continues to operate today.

      RCN Corporation – President and Chief Operating Officer - 2004

        RCN was a Bundled 3-product cable provider offering integrated voice, video and data
        products in the US Northeast, Midwest and West Coast markets with over $1.7 billion of
        debt incurred during its build out period. Working with the Lead Director, a pre-arranged
        chapter 11 plan was negotiated with all of its creditor constituencies to enable it to
        emerge as a profitable business in its markets where it continues to operate today.

      Cable & Wireless America – Chief Executive Officer – 2003-2004

        C&W America was a premier hosting business with 14% share of the US market and
        world class a Tier 1 IP Network. When its British parent company experienced financial
        difficulties, they attempted to abandon C&W America which caused stress for its major
        customers, including Yahoo, Google and others. A plan was put in place, though a
        chapter 11 process, to dramatically reduce its daily cash burn and sell the entity while
        maintaining its customer base.

      Acterna Corporation – Chief Restructuring Officer - 2003

        Acterna was a multi-national manufacturer of telecommunications and cable equipment
        with revenues of approximately $1.7 billion and debt of $1 billion prior to the industry
        down turn. I worked closely with the CEO to stabilize the operations and avoid a fire sale
        of the business. A quick turn through chapter 11 enabled it to emerge as a viable
        business, where upon the CEO was able to regrow the business and position it for a
        successful sale to an industry player 18 months later.

      WorldCom, Inc. – Chief Financial Officer – 2002, Advisor – 2003

        WorldCom was one of the largest telecommunication companies with assets of over $107
        billion and operations across the globe. It filed for chapter 11 during 2002 due to a
        massive fraud which covered up the significant operational deficiencies and losses it was
        experiencing. I was brought in as a condition of the DIP agreement and worked closely
        with the CEO and other members of the senior management to stabilize the company,
        restructure the operations to reduce opex, provide stability to the international operations
        and assist with the plan of reorganization negotiations and confirmation.



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                              Dubel & Associates, L.L.C.


      CellNet Data Systems, Inc. – Chief Restructuring Officer – 1999-2001

        CellNet was a startup technology company that provided smart grid and smart metering
        and billing solutions for the utility industry. After burning through in excess of $600
        million of initial funding it was not able to access the capital markets to continue to build
        out its platform and realize the cost synergies across contracts that would make it
        profitable. Working closely with the new CEO, we reduced the cost structure and sold the
        company to one of its meter suppliers enabling it to continue to operate in a successful
        manner.

      Barneys New York – Chief Financial Officer – 1996-1999

        Barneys was, at this time, a family owned high end retail store chain operating with over
        30 stores and international affiliations in Asia. After an uncontrolled growth plan and
        management that did not understand its cost structure, it filed for chapter 11. I was
        brought in a the request of the DIP lender to oversee the family’s management, to control
        its costs, close unprofitable locations, renegotiate store leases and work out a consensual
        chapter 11 plan that included its largest creditors providing financing through a rights
        offering to enable Barneys to successfully emerge from chapter 11 as a profitable retailer.

      The Leslie Fay Companies – EVP Restructuring and Chief Financial
       Officer – 1993-1995
        Leslie Fay was one of the larger designer and manufacturer of ladies dresses, sportwear
        and suits in the US. A public company, it was the victim of fraud by its financial
        management team to hide the true cost of operations and manufacturing of its products.
        This led to a chapter 11 filing. I worked closely with the CEO and President to stabilize
        its financial management team, reduce costs and position it for an emergence from
        chapter 11.

      Robert Maxwell Group – Head of US Private Companies – 1991-1993

        Robert Maxwell was a British entrepreneur who invested heavily in the publishing space.
        After financial improprieties were uncovered and his subsequent suicide, I was appointed
        by the UK Administrators to run all of his US operations, which included over 40 private
        companies. I worked closely with the UK administers to realize value through sales of
        these US operations and turn those proceeds over to the UK Administrators.




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                          Dubel & Associates, L.L.C.


  Mr. Dubel is a past board member and officer of the Association of Insolvency and
  Reorganization Advisors, a Certified Insolvency and Reorganization Advisor and is
  a member of the Turnaround Management Association and the American
  Bankruptcy Institute. Mr. Dubel received a Bachelor in Business Administration
  degree from the College of William and Mary.




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        Dubel & Associates, LLC

           Selected Case Studies




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                                                  SunEdison, Inc.
                           John Dubel – Chief Executive Officer and Chief Restructuring Officer

            Situation                                    Actions Taken                                Results

 SunEdison (SUNE) was the                       Hired initially as CRO with a           Took on CEO role after a short
  largest global renewable energy                 clear mandate to take on CEO             transition with the former CEO
  development company prior to                    responsibilities
  its filing for chapter 11 in April                                                      Reorganization of key
                                                 An immediate assessment of               personnel functions including
  2016. SUNE had over $10
  billion of liabilities and 4,500                the opportunity to maintain a            the hiring of a new CFO and
  employees spread across                         going concern was initiated.             Controller provided stability in
  operations in over 50 countries                Programs were put in place to            the Finance functions for the
  on 6 continents                                 plug the employee exodus that            company to operate within the
                                                  SUNE was experiencing                    limits of the DIP agreement.
 Continued downward pressure
  on energy prices caused                        In consultation with our lenders        Executed a global marketing
  renewable energy projects to                    made the determination that an           process which resulted in over
  experience stress. Lack of                      orderly sale of assets was the           60 asset sales with
  proper integration of                           best path to optimum value               approximately $1.5 billion of
  acquisitions and overpayment                    realization                              gross proceeds
  on other acquisitions caused a                                                          Executed a plan which resulted
                                                 Maintained an open line of
  liquidity crisis. Public spin-offs                                                       in the transition of
                                                  communication with the DIP, 1L
  of profitable yieldco assets cut                                                         administrative and operational
                                                  and 2 L lenders to build back
  off cash flow that was needed to                                                         functions from SUNE to the
  run the operations.                             trust in the company
                                                                                           Yieldcos which helped stabilize
 Senior management control of                   Engaged with the Board of the            the value of our ownership
  the Yieldcos enabled                            Yieldcos, TERP and GLBL, to              stake in these entities
                                                  work towards a resolution of the
  borrowings from the Yieldcos
                                                  disputes between the Yieldcos
  which could not be repaid
                                                  and SUNE




                                                                                                                 App. 0321
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                                         SunEdison, Inc. (continued)
                           John Dubel – Chief Executive Officer and Chief Restructuring Officer

            Situation                                    Actions Taken                                Results

 Class and individual litigation                Engaged with the Board and              Drove a plan, through a directed
  against SUNE and the Yieldcos                   management of the Yieldcos,              litigation strategy, to force a
  related to these control issues                 TERP and GLBL, to start to               resolution of the over $3 billion
  ensued.                                         work towards a resolution of the         of claims brought against SUNE
                                                  disputes between the Yieldcos            by the Yieldcos which resulted
 Shortly after a Feb 2016 2L
                                                  and SUNE                                 in a cooperative sale of the
  financing the company has
  exhausted those funds and was                  Put in place a path to seek              Yieldcos netting SUNE
  out of available funds to operate               resolution of all of the Class           approximately $825 million
  the business.                                   Action and individual                   A replacement DIP agreement
 Additional litigation commenced                 shareholder litigations by               was put in place to eliminate
                                                  seeking a mediation in the               certain concerned creditors and
  related to cancelled
                                                  District Court and Bankruptcy            align the interests of the DIP
  acquisitions.
                                                  Court litigation related to both         lenders and the prepetition
 During this timeframe, the                      SUNE and the Yieldcos                    secured creditors.
  creditors lost faith in the CEO
  and CFO.                                       Commenced negotiations to               Settlements of the vast majority
                                                  settle the various litigations           of class and individual
 SUNE filed for chapter 11 in late               amongst SUNE’s creditor                  shareholders were negotiated
  April 2016 funded by a DIP                      groups and between SUNE and
  provided by the 1L and 2L                       its Yieldcos                            A mediated resolution amongst
  creditors.                                                                               SUNE’s creditor resulted in a
                                                 Worked closely with Chief                successful chapter plan of reorg
                                                  Judge Morris, the mediator               funded by a rights offering led
                                                  appointed in the case, to craft a        by SUNE’s 2L creditors
                                                  resolution to all intercreditor
                                                  disputes




                                                                                                                App. 0322
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                                       Financial Guaranty Insurance Company
                         John Dubel – Chief Executive Officer and member of the Board of Directors

             Situation                                    Actions Taken                               Results

 FGIC was the third largest                      Raised capital surplus by $830         Planned and executed an
  monoline bond insurer, insuring                  million through reinsurance             orderly Rehabilitation Plan
  in excess of $300 billion of                     agreements and preferred stock          process which resulted in an
  public finance instruments,                                                              innovative and precedent
                                                  Negotiated settlements of CDS
  RMBS securitizations and CDS                                                             setting proceeding for FGIC’s
  contracts                                        contracts
                                                                                           policyholders
                                                  Managed the workout of
 At the start of 2008, FGIC was                                                          Managed down the overall
  at risk of losing its AAA ratings                multiple public finance
                                                   insurance contracts                     exposure from $312 billion to
 The residential real estate                                                              under $30 billion
  meltdown caused FGIC to face                    Managed affirmative litigation
                                                   actions to recover from parties        Settled parent/subsidiary issues
  billions of dollars of claims from                                                       without litigation
                                                   that harmed FGIC’s insurance
  CDS and RMBS contracts it
  had insured                                      contracts                              Recovered in excess of $1.25
                                                  Developed an innovative                 billion for policyholders from
 In addition, several of FGIC’s                                                           parties that harmed FGIC’s
  largest public finance deals                     restructuring plan to allow FGIC
                                                   to file a pre-arranged                  contracts
  were on the cusp of defaulting
                                                   rehabilitation plan in NYS Court       All of these results were
 In late 2009, FGIC’s statuatory                                                          accomplished while maintaining
                                                  Positioned the company to be
  capital went negative and was                                                            an independent view towards
                                                   able to operate in the post
  subject to immediate takeover                                                            protecting all policyholders
  by the NYS Department of                         rehabilitation environment to
                                                   pay claims to policyholders in a        interests
  Financial Services
                                                   timely manner




                                                                                                                App. 0323
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                          RCN Corporation – Integrated Triple Play Service Provider
                                      John Dubel – President and Chief Operating Officer

            Situation                                    Actions Taken                                 Results

 Bundled 3-product cable                        Hired as President and CRO to             Streamlined operations and
  provider offering integrated                    lead RCN during this crisis.               reduced breakeven costs
  voice, video and data products                                                             achieving positive cash flow and
                                                 Implemented reorganization of
  in the US Northeast, Midwest                                                               EBITDA
                                                  operating costs achieving
  and West Coast markets
                                                  positive EBITDA and cash flow             Reduced annualized SG&A
 Revenues of approximately                                                                  costs by 20%
                                                 Actions included:
  $500 million
                                                   – Rationalized customer base             Reduced headcount by 25%
 Over 1 million connections
                                                   – Segmented Customer                     Improved Customer Service
 $1.7 BN of debt in default                                                                 quality
                                                     Service activity and
 Secured creditors pushing the                      automated where possible               Company emerged with over
  Company to a forced liquidation                                                            $125 million of cash in hand
                                                   – Consolidated Network
 Lack of confidence in                              Operations to drive efficiency         Instituted rigorous cost
  management's business plan                                                                 reduction procedures within the
  and ability to rationalize the                   – Reduced IT functions
                                                                                             company
  business                                         – Reduced customer service
                                                     call volume through web-               Positioned the company for
 Company lacked adequate                                                                    future positive growth
                                                     based solutions
  liquidity to maintain operations
                                                   – Simplified product offering
                                                   – Generated Tech Operations
                                                     savings




                                                                                                                  App. 0324
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             Cable & Wireless America – Successfully Positioned the Company for a Sale
                                           John Dubel – Chief Executive Officer

            Situation                                  Actions Taken                                Results

 Premier hosting business with                Negotiated terms of separation          Reduced daily cash burn to
  14% share of the US market by                 from parent company and                  $0.7M
  revenue and World Class Tier 1                obtained ongoing funding
  IP Network                                    commitment
                                                                                        Planned and executed orderly
                                                                                         Chapter 11 filing with the
 Parent company’s                             Stabilized skittish customer             support of a “stalking horse”
  announcement of intention to                  base                                     bidder to facilitate a 363 sale
  exit the US market created
  uncertainty for customers,
  suppliers, and employees                     Took control of cash                    Active auction process resulted
                                                management and forecasting               in total bid consideration of
                                                process                                  $167.5M, a threefold increase
 Daily cash burn estimated at                                                           over the stalking horse bid
  $2M                                                                                    value
                                               Implemented cost cutting
                                                strategy to achieve cash flow
 Need to stabilize standalone
                                                breakeven within 9 months
  operations and facilitate a sale
  transaction
                                               Managed extensive due
                                                diligence process by multiple
                                                bidders




                                                                                                               App. 0325
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                             Acterna – Reduced Costs, Drove a Successful Turnaround
                                           John Dubel – Chief Restructuring Officer


            Situation                                    Actions Taken                                Results

 Leading Telecom Network                       Assumed role of CRO to lead             Acterna emerged from Chapter
  equipment supplier with                        company through Chapter 11               11 with 80% less debt and a
  worldwide operations that was                                                           reduction of 85% of interest
                                                Restructured $1.0 BN of
  facing a severe liquidity crisis                                                        costs in less than 6 months
                                                 debt
                                                Preserved non-domestic assets           Improved international cash
 Test equipment market was                      across 30 countries necessary            liquidity sufficiently for non-US
  crippled by the drought of                     to a successful reorganization.          operations to become self
  capital spending from Telecom                                                           funding
  Network companies                             Focused sales activity on core
                                                 markets                                 Cash at emergence was over
                                                                                          $60 million
                                                Worked with management to
 Debt levels were not                           reduce SG&A costs                       Reduced operating cash costs
  sustainable in then current                                                             so the company was self
  market conditions                             Rationalized headcount through           funding and the DIP was never
                                                 centralization of manufacturing          used to operate the company
                                                 activity
                                                                                         18 months after C-11, Acterna
                                                Managed the subsidiary                   announced a sale to JDS
                                                 divestiture program                      Uniphase, for a three fold
                                                Integrated worldwide cash                increase in value.
                                                 control procedures improving
                                                 liquidity




                                                                                                                 App. 0326
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                            WorldCom – Stabilized Operations and Finance Function
                                            John Dubel – Chief Financial Officer


            Situation                                  Actions Taken                               Results

 A massive fraud which masked                 Assumed role Chief Financial            Achieved $2 BN of operational
  operational, financial and                    Officer until a permanent                savings
  reporting issues crippled the                 management team could be put
  company’s credibility                         in place then worked as                 Increased cash flow by more
                                                financial advisor for pendency           than $100M in international
 WorldCom suffered from excess                                                          operations and avoided
                                                of Chapter 11 case
  debt with declining value of                                                           bankruptcy in many jurisdictions
  assets, financial fraud issues,              Put turnaround teams,
  contentious relationship with                 operational restructuring plans,        Worked with all stakeholders to
  creditors, and a substantial                  and cash management plans in             reach consensus on a plan of
  cash burn                                     place                                    reorganization

 Significant negative cash flow               Led the international                   Successfully restructured the
  from international operations                 restructuring efforts                    balance sheet

 WorldCom filed for bankruptcy                Assisted in negotiations with
  in July of 2002, becoming the                 creditors
  largest bankruptcy filing in
                                               Implemented an achievable
  history at the time
                                                2003 business plan, facilitated
                                                several cost reduction
                                                initiatives, and managed the 13-
                                                week cash flow forecast
                                               Reduced capital spending




                                                                                                              App. 0327
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     §
      In re:                                                         § Chapter 11
                                                                     §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                     §
                                       Debtor.                       § Related to Docket Nos. 7 & 259

           ORDER APPROVING SETTLEMENT WITH OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS REGARDING GOVERNANCE OF THE DEBTOR
            AND PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                    Upon the Motion of the Debtor to Approve Settlement with Official Committee of

  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

  Ordinary Course (the “Motion”),2 filed by the above-captioned debtor and debtor in possession

  (the “Debtor”); the Court having reviewed the Motion, and finding that (a) the Court has

  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
  2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.




                                                                                                           App. 0328
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  jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334, (b) this is a core proceeding

  pursuant to 28 U.S.C. §157(b)(2)(A), and (c) notice of this Motion having been sufficient under

  the circumstances and no other or further notice is required; and having determined that the legal

  and factual bases set forth in the Motion establish just cause for the relief granted herein; and

  having determined that the relief sought in the Motion is in the best interests of the Debtor and its

  estate; and after due deliberation and sufficient cause appearing therefore,

                   IT IS HEREBY ORDERED THAT:

                   1.         The Motion is GRANTED on the terms and conditions set forth herein.

                   2.         The Term Sheet is approved and the Debtor is authorized to take such steps

  as may be necessary to effectuate the settlement contained in the Term Sheet, including, but not

  limited to: (i) entering into the Governing Documents and compensating the Independent Directors

  for their services either directly or by reimbursing Strand for any costs incurred in connection with

  the appointment and compensation of the Debtor; (ii) implementing the Document Production

  Protocol; and (ii) implementing the Protocols.

                   3.         Subject to the Protocols and the Term Sheet, the Debtor is authorized to

  continue operations in the ordinary course of its business.

                   4.         Notwithstanding any stay under applicable Bankruptcy Rules, this Order

  shall be effective immediately upon entry.

                   5.         The Court shall retain jurisdiction over all matters arising from or related to

  the interpretation and implementation of this Order, including matters related to the Committee’s

  approval rights over the appointment and removal of the Independent Directors.

                                            ## END OF ORDER ##

                                                         2
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                                                                                                 App. 0329
